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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                  )
    In re:                                                        )         Chapter 11
                                                                  )
    SOUTHERN FOODS GROUP, LLC, et al.,1                           )         Case No. 19-36313 (DRJ)
                                                                  )
                                       Debtors.                   )
                                                                  )         (Jointly Administered)

               APPLICATION OF THE OFFICIAL COMMITTEE OF
       UNSECURED CREDITORS OF SOUTHERN FOODS GROUP, LLC, ET AL. TO
         RETAIN AND EMPLOY AKIN GUMP STRAUSS HAUER & FELD LLP
         AS COUNSEL, EFFECTIVE NUNC PRO TUNC TO DECEMBER 3, 2019

             THIS APPLICATION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT
             YOU. IF YOU OPPOSE THE APPLICATION, YOU SHOULD IMMEDIATELY
             CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND
             THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND
             SEND A COPY TO THE MOVING PARTY. YOU MUST FILE AND SERVE YOUR
             RESPONSE WITHIN 21 DAYS OF THE DATE THIS WAS SERVED ON YOU.
             YOUR RESPONSE MUST STATE WHY THE APPLICATION SHOULD NOT BE
             GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY
             BE GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE
             APPLICATION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST
             ATTEND THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE
             COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE
             THE APPLICATION AT THE HEARING.

             REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.


1     The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their respective
      Employer Identification Numbers, are as follows: Southern Foods Group, LLC (1364); Dean Foods Company
      (9681); Alta-Dena Certified Dairy, LLC (1347); Berkeley Farms, LLC (8965); Cascade Equity Realty, LLC
      (3940); Country Fresh, LLC (6303); Dairy Information Systems Holdings, LLC (9144); Dairy Information
      Systems, LLC (0009); Dean Dairy Holdings, LLC (9188); Dean East II, LLC (9192); Dean East, LLC (8751);
      Dean Foods North Central, LLC (7858); Dean Foods of Wisconsin, LLC (2504); Dean Holding Company (8390);
      Dean Intellectual Property Services II, Inc. (3512); Dean International Holding Company (9785); Dean
      Management, LLC (7782); Dean Puerto Rico Holdings, LLC (6832); Dean Services, LLC (2168); Dean
      Transportation, Inc. (8896); Dean West II, LLC (9190); Dean West, LLC (8753); DFC Aviation Services, LLC
      (1600); DFC Energy Partners, LLC (3889); DFC Ventures, LLC (4213); DGI Ventures, Inc. (6766); DIPS
      Limited Partner II (7167); Franklin Holdings, Inc. (8114); Fresh Dairy Delivery, LLC (2314); Friendly’s Ice
      Cream Holdings Corp. (7609); Friendly’s Manufacturing and Retail, LLC (9828); Garelick Farms, LLC (3221);
      Mayfield Dairy Farms, LLC (3008); Midwest Ice Cream Company, LLC (0130); Model Dairy, LLC (7981);
      Reiter Dairy, LLC (3675); Sampson Ventures, LLC (7714); Shenandoah’s Pride, LLC (2858); Steve’s Ice Cream,
      LLC (6807); Suiza Dairy Group, LLC (2039); Tuscan/Lehigh Dairies, Inc. (6774); Uncle Matt’s Organic, Inc.
      (0079); and Verifine Dairy Products of Sheboygan, LLC (7200). The debtors’ mailing address is 2711 North
      Haskell Avenue, Suite 3400, Dallas, TX 75204.
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       The Official Committee of Unsecured Creditors (the “Committee”) of Southern Foods

Group, LLC, et al., (the “Debtors”) submits this application (the “Application”), pursuant to

sections 328(a) and 1103(a) of title 11 of the United States Code (the “Bankruptcy Code”), Rule

2014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 2014-1 of

the Local Rules of Bankruptcy Practice and Procedure for the United States Bankruptcy Court for

the Southern District of Texas (the “Local Rules”), for entry of an order, substantially in the form

attached hereto as Exhibit A, authorizing the Committee to retain and employ Akin Gump Strauss

Hauer & Feld LLP (“Akin Gump”) as its counsel in connection with the Debtors’ chapter 11 cases

(the “Chapter 11 Cases”), effective nunc pro tunc to December 3, 2019. In support of this

Application, the Committee submits the declaration of Philip C. Dublin, a partner of Akin Gump

(the “Dublin Declaration”), and the declaration of Andrew Herink, not in his individual capacity

but solely on behalf of Central States, Southeast and Southwest Areas Pension Fund, in its capacity

as co-chair of the Committee (the “Herink Declaration” and, together with the Dublin Declaration,

the “Declarations”), attached hereto as Exhibit B and Exhibit C, respectively. In further support

of this Application, the Committee respectfully represents as follows:

                                JURISDICTION AND VENUE

       1.      This United States Bankruptcy Court for the Southern District of Texas (the

“Court”) has jurisdiction over this Application pursuant to 28 U.S.C. § 1334. This matter is a core

proceeding within the meaning of 28 U.S.C. § 157(b)(2).

       2.      Venue in this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      The statutory and rule predicates for the relief requested herein are Bankruptcy

Code sections 328(a) and 1103, Bankruptcy Rule 2014 and Local Rule 2014-1.




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                                             BACKGROUND

        4.      On November 12, 2019 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief pursuant to chapter 11 of the Bankruptcy Code.

        5.      The Debtors continue to operate their business as debtors in possession pursuant to

Bankruptcy Code sections 1107(a) and 1108. No request has been made for the appointment of a

trustee or an examiner.

        6.      On November 22, 2019 (the “Formation Date”), the United States Trustee for the

Southern District of Texas (the “U.S. Trustee”) appointed the Committee pursuant to Bankruptcy

Code section 1102 [Docket No. 288].2 On December 3, 2019, the Committee selected Akin Gump

to serve as counsel to the Committee. On December 6, 2019, the Committee selected Berkeley

Research Group, LLC (“BRG”) to serve as financial advisor to the Committee and Miller Buckfire

& Co. LLC (“Miller Buckfire”) to provide investment banking services to the Committee, subject

to Court approval.

                                         RELIEF REQUESTED

        7.      The Committee seeks to retain and employ Akin Gump as its counsel, pursuant to

Bankruptcy Code sections 328(a) and 1103(a), Bankruptcy Rule 2014 and Local Rule 2014-1,

nunc pro tunc to December 3, 2019.

                                   RETENTION OF AKIN GUMP

        8.      The Committee respectfully submits that it is necessary and appropriate for it to

retain and employ Akin Gump to, among other things:




2   The Committee is currently comprised of the following entities: (a) The Bank of New York Mellon Trust
    Company, N.A., as Indenture Trustee; (b) Central States, Southeast and Southwest Areas Pension Fund; (c)
    Pension Benefit Guaranty Corporation; (d) Land O’Lakes, Inc.; (e) California Dairies, Inc.; (f) Consolidated
    Container Company LP; and (g) Select Milk Producers, Inc.


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 (a)   advise the Committee with respect to its rights, duties and powers in the Chapter
       11 Cases;

 (b)   assist and advise the Committee in its consultations and negotiations with the
       Debtors and other parties in interest relative to the administration of the Chapter
       11 Cases;

 (c)   assist the Committee in analyzing the claims of the Debtors’ creditors and the
       Debtors’ capital structure and in negotiating with holders of claims and equity
       interests;

 (d)   assist the Committee in its investigation of the acts, conduct, assets, liabilities and
       financial condition of the Debtors and their insiders and of the operation of the
       Debtors’ businesses;

 (e)   assist the Committee in its analysis of, and negotiations with, the Debtors or any
       third party concerning matters related to, among other things, the assumption or
       rejection of certain leases of non-residential real property and executory contracts,
       asset dispositions, going concern sale transactions, financing transactions, other
       transactions and the terms of one or more plans of reorganization for the Debtors
       and accompanying disclosure statements and related plan documents;

 (f)   assist and advise the Committee as to its communications to the general creditor
       body regarding significant matters in the Chapter 11 Cases;

 (g)   represent the Committee at all hearings and other proceedings before this Court;

 (h)   review and analyze applications, orders, statements of operations and schedules
       filed with the Court and advise the Committee as to their propriety and, to the
       extent deemed appropriate by the Committee, support, join or object thereto;

 (i)   advise and assist the Committee with respect to any legislative, regulatory or
       governmental activities;

 (j)   assist the Committee in its review and analysis of the Debtors’ various
       agreements;

 (k)   prepare, on behalf of the Committee, any pleadings, including, without limitation,
       motions, memoranda, complaints, adversary complaints, objections or comments
       in connection with any matter related to the Debtors or the Chapter 11 Cases;

 (l)   investigate and analyze any claims belonging to the Debtors’ estates; and

 (m)   perform such other legal services as may be required or are otherwise deemed to
       be in the interests of the Committee in accordance with the Committee’s powers
       and duties as set forth in the Bankruptcy Code, Bankruptcy Rules or other
       applicable law.


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       9.       The Committee believes Akin Gump possesses extensive knowledge and expertise

in the areas of law relevant to the Chapter 11 Cases, and that Akin Gump is well-qualified to

represent the Committee in the Chapter 11 Cases. In selecting counsel, the Committee sought

attorneys with considerable experience in representing unsecured creditors’ committees in

chapter 11 cases and other debt restructurings. Akin Gump has such experience, as Akin Gump is

currently representing and has represented official creditors’ committees in many significant

chapter 11 cases, including the following: In re ATA Holdings Corp.; In re BPZ Resources, Inc.;

In re Chassix Inc.; In re Chemtura Corp.; In re Cumulus Media Inc.; In re Delta Air Lines, Inc.;

In re Delta Petroleum Corp.; In re Dynegy Holdings, LLC; In re Edison Mission Energy;

In re Excel Maritime Carriers LTD; In re EMAS Chiyoda Subsea Ltd.; In re Emerald Oil, Inc.; In

re Friendly Ice Cream Corporation; In re Goodrich Petroleum Corp.; In re Hawker Beechcraft,

Inc.; In re iHeartMedia, Inc.; In re Insys Therapeutics, Inc.; In re Metals USA, Inc.; In re Nine

West Holdings, Inc.; In re Overseas Shipholding Group, Inc.; In re Purdue Pharma L.P.; In re

Quiksilver, Inc.; In re R.E. Loans, LLC; In re Saint Vincents Catholic Medical Centers of New

York; In re SandRidge Energy Inc.; In re Seahawk Drilling, Inc.; In re Sears Holding Corporation;

In re Swift Energy Co.; In re TOUSA, Inc.; In re Vanguard Natural Resources, LLC and In re Vitro

America, LLC.

       10.      Because of the extensive legal services that the Committee requires in connection

with the Chapter 11 Cases, and the fact that the full nature and extent of such services are not

known at this time, the Committee believes that the employment of Akin Gump to provide the

services described above and such other services as may be necessary for the Committee to satisfy

its obligations to the Debtors’ unsecured creditor constituency is appropriate and in the best

interests of the Debtors’ estates and their creditors.



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        11.      The Committee requests that all fees and related costs and expenses incurred by the

Committee on account of services rendered by Akin Gump in the Chapter 11 Cases be paid as

administrative expenses of the Debtors’ estates pursuant to Bankruptcy Code sections 328, 330,

331, 503(b) and 507(a)(2). Subject to this Court’s approval, Akin Gump will charge for its legal

services on an hourly basis in accordance with its ordinary and customary hourly rates in effect on

the date such services are rendered, subject to Bankruptcy Code sections 328, 330 and 331. The

2019 and 2020 hourly rates charged by Akin Gump for professionals and paraprofessionals

employed in its domestic offices are provided below:

              Billing Category                   2019 Range             2020 Range
              Partners                           $925 – $1,755          $995 – $1,995
              Counsel                            $610 – $1,420          $735 – $1,510
              Associates                         $510 – $975            $535 – $1,070
              Paraprofessionals                  $115 – $435            $100 – $455

        12.      Akin Gump has advised the Committee that it is Akin Gump’s policy to charge its

clients in all areas of practice for expenses incurred in connection with its representation of a client.

The expenses charged to clients include, among other things, photocopying charges, travel

expenses, expenses for “working meals” and computerized research. Akin Gump will maintain

detailed records of actual and necessary costs and expenses incurred in connection with the legal

services provided to the Committee.

        13.      The names, positions and hourly rates of the Akin Gump attorneys currently

expected to have primary responsibility for providing services to the Committee are as follows:




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  ATTORNEY             POSITION/DEPARTMENT                 2019 HOURLY         2020 HOURLY
                                                               RATE                RATE
 Ira S. Dizengoff Partner / Financial Restructuring       $1,550              $1,595
                  Department
 Philip C. Dublin Partner / Financial Restructuring       $1,475              $1,595
                  Department
 Meredith         Partner/ Financial Restructuring        $1,250              $1,350
 Lahaie           Department
 Marty            Partner/ Litigation Department          $1,425              $1,595
 Brimmage
 Lacy Lawrence Partner/ Litigation Department             $1,020              $1,350
 Joanna         Senior Counsel / Financial                $1,100              $1,195
 Newdeck        Restructuring Department
 Julie Thompson Associate / Financial Restructuring       $760                $860
                Department
 Patrick Chen   Associate / Financial Restructuring       $660                $775
                Department
 Madison        Associate / Financial Restructuring       $560                $615
 Gardiner       Department


In addition to the lawyers named above, the Committee understands that it will be necessary,

during the course of these cases, for other Akin Gump professionals in other legal disciplines to

provide services to the Committee.

       14.    Akin Gump has advised the Committee that it will apply for compensation and

reimbursement of expenses in accordance with the procedures set forth in Bankruptcy Code

sections 330 and 331, the applicable Bankruptcy Rules, the applicable Local Rules, and any other

applicable order of the Court. Akin Gump has advised the Committee that it also intends to make

a reasonable effort to comply with the U.S. Trustee’s requests for information and additional

disclosures as set forth in the Guidelines for Reviewing Applications for Compensation and

Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases

Effective as of November 1, 2013 (the “Revised UST Guidelines”), both in connection with this

Application and in the interim and final fee applications to be filed by Akin Gump in the Chapter



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11 Cases.3 To that end, Akin Gump has advised the Committee that it responds to the questions

set forth in Section D of the Revised UST Guidelines as follows:

          (a)      Akin Gump did not agree to any variations from, or alternatives to, its standard
                   or customary billing arrangements for this engagement;

          (b)      No rate for any of the professionals included in this engagement varies based on
                   the geographic location of the Chapter 11 Cases;

          (c)      Akin Gump did not represent any member of the Committee in connection with
                   the Debtors’ Chapter 11 Cases prior to its retention by the Committee;

          (d)      Akin Gump expects to develop a prospective budget and staffing plan to comply
                   reasonably with the U.S. Trustee’s request for information and additional
                   disclosures, as to which Akin Gump reserves all rights; and

          (e)      The Committee has approved Akin Gump’s proposed hourly billing rates. The
                   Akin Gump attorneys set forth above in paragraph 13 will be the primary
                   attorneys staffed on the Debtors’ Chapter 11 Cases, subject to modification based
                   on the facts and circumstances of the Chapter 11 Cases and the needs of the
                   Committee.

        15.      Upon information and belief, Akin Gump does not represent and does not hold any

interest adverse to the Debtors’ estates or their creditors in the matters upon which Akin Gump is

to be engaged, except to the extent set forth in the Dublin Declaration. Akin Gump is, however, a

large firm with a national and international practice and may represent or may have represented

certain of the Debtors’ creditors, equity holders, related parties or other parties in interest in matters

unrelated to these cases.

                                        NUNC PRO TUNC RELIEF

        16.      The Committee believes that the employment of Akin Gump effective nunc pro

tunc to December 3, 2019, the date the Committee selected Akin Gump as its proposed counsel, is

warranted under the circumstances of the Chapter 11 Cases. Upon its selection, the Committee



3   Akin Gump’s intention to make reasonable efforts to comply with the U.S. Trustee’s requests for information and
    additional disclosures as set forth in the Revised UST Guidelines in connection with the Application and the
    interim and final fee applications to be filed by Akin Gump in the Debtors’ Chapter 11 Cases is based exclusively
    on the facts and circumstances of the Debtors’ Chapter 11 Cases. Akin Gump fully reserves the right to object to
    the requirements contained in the Revised UST Guidelines should it determine that it is appropriate to do so.

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requested Akin Gump to commence work immediately on time-sensitive matters and devote

substantial resources to these Chapter 11 Cases prior to the submission and approval of this

Application. Thus, Akin Gump has provided, and will continue to provide, valuable services to

the Committee. Furthermore, Local Rule 2014-1(b)(1) provides that an application for approval

of employment made within thirty days of the commencement of the provision of services is

deemed contemporaneous. Nonetheless, the Committee is requesting nunc pro tunc approval out

of an abundance of caution.

                                   NO PRIOR REQUEST

       17.     No prior request for the relief sought herein has been made to this Court or any

other court.



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                                 CERTIFICATE OF SERVICE

        I certify that on January 2, 2020, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas and by U.S. Mail to the U.S. Trustee.

                                            /s/ Mary L. Brimmage
                                            Marty L. Brimmage
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                           EXHIBIT A

                          Proposed Order
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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                                    )
    In re:                                                          )        Chapter 11
                                                                    )
    SOUTHERN FOODS GROUP, LLC, et al.,1                             )        Case No. 19-36313 (DRJ)
                                                                    )
                                         Debtors.                   )
                                                                    )        (Jointly Administered)

          ORDER AUTHORIZING THE OFFICIAL COMMITTEE OF UNSECURED
          CREDITORS OF SOUTHERN FOODS GROUP, LLC, ET AL. TO RETAIN
         AND EMPLOY AKIN GUMP STRAUSS HAUER & FELD LLP AS COUNSEL,
                 EFFECTIVE NUNC PRO TUNC TO DECEMBER 3, 2019

             Upon the application dated January 2, 2020 (the “Application”)2 of the Official Committee

of Unsecured Creditors (the “Committee”) of Southern Foods Group, LLC, et al. (the “Debtors”)

for entry of an order, pursuant to sections 328(a) and 1103(a) of title 11 of the United States Code

(the “Bankruptcy Code”), Rule 2014 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”) and Rule 2014-1 of the Local Rules of Bankruptcy Practice and Procedure



1       The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their respective
        Employer Identification Numbers, are as follows: Southern Foods Group, LLC (1364); Dean Foods Company
        (9681); Alta-Dena Certified Dairy, LLC (1347); Berkeley Farms, LLC (8965); Cascade Equity Realty, LLC
        (3940); Country Fresh, LLC (6303); Dairy Information Systems Holdings, LLC (9144); Dairy Information
        Systems, LLC (0009); Dean Dairy Holdings, LLC (9188); Dean East II, LLC (9192); Dean East, LLC (8751);
        Dean Foods North Central, LLC (7858); Dean Foods of Wisconsin, LLC (2504); Dean Holding Company
        (8390); Dean Intellectual Property Services II, Inc. (3512); Dean International Holding Company (9785); Dean
        Management, LLC (7782); Dean Puerto Rico Holdings, LLC (6832); Dean Services, LLC (2168); Dean
        Transportation, Inc. (8896); Dean West II, LLC (9190); Dean West, LLC (8753); DFC Aviation Services, LLC
        (1600); DFC Energy Partners, LLC (3889); DFC Ventures, LLC (4213); DGI Ventures, Inc. (6766); DIPS
        Limited Partner II (7167); Franklin Holdings, Inc. (8114); Fresh Dairy Delivery, LLC (2314); Friendly’s Ice
        Cream Holdings Corp. (7609); Friendly’s Manufacturing and Retail, LLC (9828); Garelick Farms, LLC (3221);
        Mayfield Dairy Farms, LLC (3008); Midwest Ice Cream Company, LLC (0130); Model Dairy, LLC (7981);
        Reiter Dairy, LLC (3675); Sampson Ventures, LLC (7714); Shenandoah’s Pride, LLC (2858); Steve’s Ice
        Cream, LLC (6807); Suiza Dairy Group, LLC (2039); Tuscan/Lehigh Dairies, Inc. (6774); Uncle Matt’s
        Organic, Inc. (0079); and Verifine Dairy Products of Sheboygan, LLC (7200). The debtors’ mailing address is
        2711 North Haskell Avenue, Suite 3400, Dallas, TX 75204.
2       Capitalized terms used herein but otherwise not defined shall have the meaning ascribed to such term in the
        Application
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for the United States Bankruptcy Court for the Southern District of Texas (the “Local Rules”),

authorizing the Committee to retain and employ Akin Gump Strauss Hauer & Feld LLP (“Akin

Gump”) as its counsel in connection with the Debtors’ chapter 11 cases (the “Chapter 11 Cases”),

and upon the declaration of Philip C. Dublin, a partner of Akin Gump, dated January 2, 2020 (the

“Dublin Declaration”) and the declaration of Andrew Herink, on behalf of Central States,

Southeast and Southwest Areas Pension Fund, in its capacity as co-chair of the Committee, dated

December 30, 2019 (the “Herink Declaration” and, together with the Dublin Declaration, the

“Declarations”); and it appearing that the attorneys of Akin Gump who will perform services on

behalf of the Committee in the Chapter 11 Cases are duly qualified to practice before this Court;

and the Court finding, based on the representations made in the Application and the Declarations,

that Akin Gump does not represent any interest adverse to the Committee or the Debtors’ estates

with respect to the matters upon which it is to be engaged, that it is a “disinterested person,” as

that term is defined in Bankruptcy Code section 101(14), as modified by Bankruptcy Code section

1107(b), that its employment is necessary and in the best interests of the Committee and the

Debtors’ estates; and finding that adequate notice of the Application having been given; and it

appearing that no other notice need be given; and after due deliberation and sufficient cause

appearing therefor, it is hereby ORDERED THAT:

       1.      The relief requested in the Application is granted as set forth herein.

       2.      In accordance with Bankruptcy Code sections 328 and 1103(a) and Bankruptcy

Rule 2014(a), the Committee is hereby authorized and empowered to retain and employ Akin

Gump as its counsel to represent it in these Chapter 11 Cases and related matters and proceedings

on the terms set forth in the Application and the Declarations, effective nunc pro tunc to December

3, 2019.



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       3.      Akin Gump shall be compensated in accordance with the procedures set forth in

Bankruptcy Code sections 330 and 331, the applicable Bankruptcy Rules, the applicable Local

Rules, and any other applicable order of the Court. Akin Gump shall also make a reasonable effort

to comply with the U.S. Trustee’s requests for information and additional disclosures as set forth

in the Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses

Filed Under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases Effective as of November

1, 2013 in connection with interim and final fee applications to be filed by Akin Gump in these

Chapter 11 Cases.

       4.      The Committee is authorized to take all actions necessary to effectuate the relief

granted pursuant to this order in accordance with the Application.

       5.      The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

       6.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Order.

Dated: ___________,


                                               ______________________________________
                                               THE HONORABLE DAVID R. JONES
                                               UNITED STATES BANKRUPTCY JUDGE




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                           EXHIBIT B

                        Dublin Declaration
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                  )
    In re:                                                        )         Chapter 11
                                                                  )
    SOUTHERN FOODS GROUP, LLC, et al.,1                           )         Case No. 19-36313 (DRJ)
                                                                  )
                                       Debtors.                   )
                                                                  )         (Jointly Administered)

                 DECLARATION OF PHILIP C. DUBLIN IN SUPPORT OF THE
               APPLICATION OF THE OFFICIAL COMMITTEE OF UNSECURED
                 CREDITORS OF SOUTHERN FOODS GROUP, LLC, ET AL. TO
              RETAIN AND EMPLOY AKIN GUMP STRAUSS HAUER & FELD LLP
              AS COUNSEL, EFFECTIVE NUNC PRO TUNC TO DECEMBER 3, 2019

             Under 28 U.S.C. § 1746, I, Philip C. Dublin, declare as follows under the penalty of

perjury:

             1.     I am an attorney admitted to practice in the State of New York and before the United

States District Court for each of the Southern and Eastern Districts of New York, and have been

admitted pro hac vice to the United States Bankruptcy Court for the Southern District of Texas,

Houston Division, for the purposes of these Chapter 11 Cases.



1     The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their respective
      Employer Identification Numbers, are as follows: Southern Foods Group, LLC (1364); Dean Foods Company
      (9681); Alta-Dena Certified Dairy, LLC (1347); Berkeley Farms, LLC (8965); Cascade Equity Realty, LLC
      (3940); Country Fresh, LLC (6303); Dairy Information Systems Holdings, LLC (9144); Dairy Information
      Systems, LLC (0009); Dean Dairy Holdings, LLC (9188); Dean East II, LLC (9192); Dean East, LLC (8751);
      Dean Foods North Central, LLC (7858); Dean Foods of Wisconsin, LLC (2504); Dean Holding Company (8390);
      Dean Intellectual Property Services II, Inc. (3512); Dean International Holding Company (9785); Dean
      Management, LLC (7782); Dean Puerto Rico Holdings, LLC (6832); Dean Services, LLC (2168); Dean
      Transportation, Inc. (8896); Dean West II, LLC (9190); Dean West, LLC (8753); DFC Aviation Services, LLC
      (1600); DFC Energy Partners, LLC (3889); DFC Ventures, LLC (4213); DGI Ventures, Inc. (6766); DIPS
      Limited Partner II (7167); Franklin Holdings, Inc. (8114); Fresh Dairy Delivery, LLC (2314); Friendly’s Ice
      Cream Holdings Corp. (7609); Friendly’s Manufacturing and Retail, LLC (9828); Garelick Farms, LLC (3221);
      Mayfield Dairy Farms, LLC (3008); Midwest Ice Cream Company, LLC (0130); Model Dairy, LLC (7981);
      Reiter Dairy, LLC (3675); Sampson Ventures, LLC (7714); Shenandoah’s Pride, LLC (2858); Steve’s Ice Cream,
      LLC (6807); Suiza Dairy Group, LLC (2039); Tuscan/Lehigh Dairies, Inc. (6774); Uncle Matt’s Organic, Inc.
      (0079); and Verifine Dairy Products of Sheboygan, LLC (7200). The debtors’ mailing address is 2711 North
      Haskell Avenue, Suite 3400, Dallas, TX 75204.
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        2.       I am a partner of the firm of Akin Gump Strauss Hauer & Feld LLP (“Akin Gump”).

Akin Gump maintains offices at, among other places, One Bryant Park, New York, New York

10036 and 1111 Louisiana Street, Houston, Texas 77002. There are no disciplinary proceedings

pending against me.

        3.       I am familiar with the matters set forth herein and make this declaration

(the “Declaration”) in support of the application (the “Application”)2 of the Official Committee of

Unsecured Creditors (the “Committee”) of Southern Foods Group, LLC, et al. (the “Debtors”)

seeking approval to retain and employ Akin Gump as counsel to the Committee.

        4.       On November 22, 2019 (the “Formation Date”), pursuant to section 1102 of title

11 of the United States Code (the “Bankruptcy Code”), the United States Trustee for the Southern

District of Texas (the “U.S. Trustee”) appointed the Committee [Docket No. 288]. The Committee

is currently comprised of: (a) The Bank of New York Mellon Trust Company, N.A., as Indenture

Trustee; (b) Central States, Southeast and Southwest Areas Pension Fund; (c) Pension Benefit

Guaranty Corporation; (d) Land O’Lakes, Inc.; (e) California Dairies Inc.; (f) Consolidated

Container Company LP; and (g) Select Milk Producers, Inc. On December 3, 2019, the Committee

selected Akin Gump to serve as counsel to the Committee. On December 6, 2019, the Committee

selected Berkeley Research Group, LLC to serve as financial advisor to the Committee and Miller

Buckfire & Co. LLC to provide investment banking services to the Committee.

        5.       I am not, nor is Akin Gump, an insider of the Debtors. Except as set forth below,

neither Akin Gump nor I hold directly any claim, debt or equity security of the Debtors. To the

best of my knowledge, following inquiry of the employees of Akin Gump, no Akin Gump

employees hold any claim, debt or equity security of the Debtors.


2   Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Application.


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       6.      To the best of my knowledge and information, no partner or employee of Akin

Gump has been, within two years from the Petition Date, a director, officer or employee of the

Debtors as specified in Bankruptcy Code section 101(14)(B).

       7.      Akin Gump does not have an interest materially adverse to the interests of the

Debtors’ estates or of any class of creditors or equity security holders of the Debtors, by reason of

any direct or indirect relationship to, connection with, or interest in, the Debtors, as specified in

Bankruptcy Code section 101(14)(C), or for any other reason.

       8.      Akin Gump does not currently represent the Debtors or, except as set forth herein,

to the best of my knowledge and information, any of their related parties, affiliates, partners, or

subsidiaries. Moreover, Akin Gump will not undertake the representation of any party other than

the Committee in connection with the Chapter 11 Cases.

       9.      To the best of my knowledge and information, Akin Gump neither holds nor

represents any interest adverse to the Committee, the Debtors, their creditors or other parties in

interest or their respective attorneys in the Chapter 11 Cases. Based upon information available

to me, I believe that Akin Gump is a “disinterested person” within the meaning of Bankruptcy

Code section 101(14).

       10.     In preparing this Declaration, through my colleagues, I submitted to Akin Gump’s

computerized client and conflict database (the “Conflict Database”) the names set forth on a list

of parties in interest identified by the Debtors and additional parties identified by Akin Gump,

which included: (i) the Debtors; (ii) the Debtors’ affiliates; (iii) the Debtors’ current and former

officers and directors; (iv) 5% equity holders; (v) the Debtors’ insurance brokers, providers, and

sureties; (vi) the Debtors’ largest unsecured creditors and other significant creditors; (vii) the

Debtors’ lenders, banks, lien parties and administrative agents; (viii) the Debtors’ bondholders;



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(ix) litigants against the Debtors; (x) the Debtors’ professionals; (xi) the Debtors’ significant

customers (xii) unions associated with the Debtors; (xiii) the Debtors’ trade vendors; (xiv)

Committee members, members’ outside counsel and professionals; (xv) personnel from the Office

of the United States Trustee and the Bankruptcy Court; (xvi) the parties that have filed notices of

appearance in the Chapter 11 Cases as of December 19, 2019; and (xvii) the parties listed on filed

2019 statements as of December 19, 2019. A copy of the list of the parties searched by Akin Gump

is annexed hereto as Schedule 1 (collectively, the “Searched Parties”).

       11.     The Conflict Database maintained by Akin Gump is designed to include every

matter on which the firm is now and has been engaged, by which entity the firm is now or has been

engaged and, in each instance, the identity of certain related parties and adverse parties and certain

of the attorneys in the firm that are knowledgeable about the matter. It is the policy of Akin Gump

that no new matter may be accepted or opened within the firm without completing and submitting

to those charged with maintaining the Conflict Database the information necessary to check each

such matter for conflicts, including the identity of the prospective client, the matter, and related

and adverse parties. Accordingly, Akin Gump maintains and systematically updates this system

in the regular course of business of the firm, and it is the regular practice of the firm to make and

maintain these records.

                                  Representation of Parties in Interest

       12.     Set forth in Schedule 2 annexed hereto is a listing of the Searched Parties from

Schedule 1 that Akin Gump either (i) currently represents (or represents a related party of the

Searched Party) (the “Current Clients”) in matters unrelated to the Chapter 11 Cases, or (ii) has in

the past represented (or represented a related party of the Searched Party) in matters unrelated to

the Chapter 11 Cases. In connection with the services to be rendered to the Committee, Akin



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Gump will not commence a cause of action against any Current Client with respect to the Chapter

11 Cases unless Akin Gump has received a waiver from the Current Client allowing Akin Gump

to commence such an action. In connection with the Chapter 11 Cases, to the extent any causes

of action are commenced by or against any Current Client, and a waiver is not obtained permitting

Akin Gump to participate in such action, the Committee will retain conflicts counsel to represent

the Committee in connection therewith.

       13.     Set forth in Schedule 3 annexed hereto is a listing of those parties from Schedule 1

(Searched Parties) that are currently or have in the past been adverse to clients of Akin Gump in

matters unrelated to these Chapter 11 Cases.

                   Connections with Parties Representing 1% or More of
                      Akin Gump’s Revenues for 2017, 2018 or 2019

       14.     At the inception of each engagement for which a declaration is required pursuant

to Bankruptcy Rule 2014, Akin Gump reviews the information relating to the parties involved in

a bankruptcy case to determine whether any such party, together with its known related entities,

were clients of Akin Gump and, as a result, made payments to Akin Gump for services rendered

in the calendar year prior to the date of review that in the aggregate for each such party exceeds

1% of Akin Gump’s total revenues for such calendar year. In connection with this Declaration,

Akin Gump has reviewed similar information for the years 2017, 2018 and 2019.

       15.     With the exception of the parties described below, Akin Gump’s revenues for

services rendered on behalf of each of the parties in interest identified in Schedule 1 aggregate,

with respect to each such party in interest, less than 1% of Akin Gump’s annual revenue in each

of calendar year 2017, 2018 and 2019.

       16.     Akin Gump currently represents FirstEnergy Solutions Corp. et al. and its affiliates

(collectively “FES”) in matters unrelated to these Chapter 11 Cases. Akin Gump formerly


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represented FirstEnergy Corp, the ultimate parent company of FES, and certain of its affiliates

(collectively, “FE Corp.”) in matters unrelated to these Chapter 11 Cases. Certain affiliates of FE

Corp. are parties in interest in these Chapter 11 Cases. 3 Akin Gump’s revenues for services

rendered on behalf of FES totaled 3.56% for 2019 as of December 19, 2019, 2.74% for calendar

year 2018 and 1.7% for calendar year 2017.

        17.      Akin Gump currently represents the official committee of unsecured creditors (the

“Sears Committee”) of Sears Holdings Corporation et al. in matters unrelated to these Chapter 11

Cases. Certain members of the Sears Committee or their affiliates are members of the Committee

or are parties in interest in these Chapter 11 Cases.4 Akin Gump’s revenues for the services

rendered on behalf of the Sears Committee represented approximately 3.91% for 2019 as of

December 19, 2019.

        18.      Akin Gump previously represented the official committee of unsecured creditors

(the “Nine West Committee”) of Nine West Holdings, Inc. et al. in matters unrelated to these

Chapter 11 Cases. Certain members of the Nine West Committee or their affiliates are members

of the Committee in these Chapter 11 Cases.5 Akin Gump’s revenues for services rendered on

behalf of the Nine West Committee represented approximately 1.17% and 2.17% for the calendar

year 2018 and for calendar year 2019, as of December 19, 2019.

        19.      Akin Gump previously represented the official committee of unsecured creditors

(the “iHeart Committee”) of iHeart Media, Inc. et al. in matters unrelated to these Chapter 11



3   These parties in interest or affiliates thereof are listed on Schedule 1 and include Metropolitan Edison Company,
    Monongahela Power Company, Ohio Edison Company, Pennsylvania Power Company, Potomac Edison
    Company and Toledo Edison Company.
4   These parties in interest or affiliates thereof are listed on Schedule 1 and include Pension Benefit Guarantee
    Corporation, Bank of New York Mellon and Computershare Trust Company, N.A.
5   These parties in interest of affiliates thereof are listed on Schedule 1 and include Pension Benefit Guarantee
    Corporation.


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Cases. Certain members of the iHeart Committee are parties in interest in these Chapter 11 Cases.6

Akin Gump’s revenues for services rendered on behalf of the iHeart Committee represented

approximately 1.15% for the calendar year 2018.

        20.       Akin Gump previously represented an ad hoc committee (the “Avaya Group”) of

creditors of Avaya Inc. and certain of its subsidiaries and affiliates in matters unrelated to these

Chapter 11 Cases. Certain members of the Avaya Group or their affiliates are parties in interest

in the Debtors’ Chapter 11 Cases.7 Akin Gump’s revenues for services rendered on behalf of the

Avaya Group represented approximately 1.4% for the calendar year 2017.

        21.       Akin Gump previously represented an ad hoc group (the “SunEd Group”) of certain

creditors of SunEdison, Inc. and certain of its subsidiaries and affiliates in matters unrelated to

these Chapter 11 Cases. Certain members of the SunEd Group or their affiliates are parties in

interest in the Debtors’ Chapter 11 Cases.8 Akin Gump’s revenues for services rendered on behalf

of the SunEd Group represented approximately 1.3% of Akin Gump’s revenue for the calendar

year 2017.

        Connections with Members of the Official Committee of Unsecured Creditors

        22.       Akin Gump serves as counsel to informal and official committees of creditors in

many restructurings and/or chapter 11 cases. Of the current Committee members, The Bank of

New York Mellon Trust Company, N.A. and/or affiliates thereof and Pension Benefit Guaranty



6   These parties in interest or affiliates thereof are listed on Schedule 1 and include, without limitation, Delaware
    Trust Company.
7   These parties in interest or affiliates thereof are listed on Schedule 1 and include, without limitation, the following
    entities: Blackrock Financial Management Inc.; BlackRock Advisors, LLC; Blackrock Institutional Trust
    Company, N.A.; Wells Fargo Bank, N.A.; Goldman Sachs & Co. LLC.; JP Morgan Chase Bank & JP Morgan
    Investment Management Inc,; Knighthead Capital Management, LLC; Manulife Asset Management (US) LLC;
    Nomura Corporate Research and Asset Management; Voya CLO IV, Ltd.; Voya CLO 2012-4, Ltd.; Voya Credit
    Opportunities Master Fund, etc.; Continental Insurance Company; and Bank of America, N.A.
8   These parties in interest or affiliates thereof are listed on Schedule 1 and include, without limitation, the following
    entity: BlackRock Alternative Advisors.

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Corporation and/or affiliates thereof have in the past served and/or currently serve as members of

one or more official creditors’ committees represented by Akin Gump.

       23.     Akin Gump currently represents and previously has represented The Bank of New

York Trust Company, N.A. and/or affiliates thereof in matters unrelated to the Chapter 11 Cases.

       24.     Akin Gump previously has represented Pension Benefit Guaranty Corporation

and/or affiliates thereof and Select Milk Producers, Inc. and/or affiliates thereof in matters

unrelated to the Chapter 11 Cases.

                                  Connections with the Debtors

       25.     As disclosed in Schedule 2, Akin Gump has in the past represented certain of the

Debtors in matters unrelated to the Debtors’ Chapter 11 Cases.9 Akin Gump billed approximately

$10,335 to the Debtor entities in 2002.

       26.     As disclosed in Schedule 2, Akin Gump has in the past and currently represents

Delaware Trust Company, the trustee of DIPS Limited Partner II, on matters unrelated to the

Debtors’ Chapter 11 Cases. Additionally, Akin Gump has in the past represented CT Corporation,

an independent manager of Dairy Group Receivables GP, LLC and Dairy Group Receivables GP

II, LLC, in matters unrelated to the Debtors’ Chapter 11 Cases.

       27.     Akin Gump has not represented and will not represent these parties in connection

with the Chapter 11 Cases.

       28.     Akin Gump has, in the past, represented parties potentially adverse to the Debtors

and the Debtors’ affiliates in matters unrelated to the Debtors’ Chapter 11 Cases.




9   These include, without limitation: Dean Foods Company; Dean Foods North Central, LLC; Dean Foods of
    Wisconsin, LLC; Friendly’s Ice Cream Holdings Corp.; and Friendly’s Manufacturing and Retail, LLC.

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               Connections to Certain Holders of Equity Interests and Debt in the Debtors

       29.     As disclosed in Schedule 2, Akin Gump currently represents and has in the past

represented BlackRock Fund Advisors and/or affiliates thereof, Morgan Stanley & Co. LLC and/or

affiliates thereof, and The Vanguard Group, Inc. and/or affiliates thereof on matters unrelated to

the Chapter 11 Cases.

       30.     In addition, Akin Gump has in the past represented Dimensional Fund Advisors

L.P. and/or affiliates thereof on matters unrelated to the Chapter 11 Cases.

       31.     Akin Gump has not represented and will not represent these parties in connection

with the Chapter 11 Cases.

      Connections to Certain Banks, Lenders, Lien Parties and Administrative Agents

       32.     As disclosed in Schedule 2, Akin Gump currently represents and has in the past

represented ACF FinCo I L.P. and/or affiliates thereof, BMO Harris Bank N.A. and/or affiliates

thereof, CIT Northbridge Funding I LLC and/or affiliates thereof, and PNC Bank, National

Associates and/or affiliates thereof on matters unrelated to the Chapter 11 Cases.

       33.     In addition, Akin Gump has in the past represented CoBank, ACB and/or affiliates

thereof, Coöperatieve Rabobank U.A. and Coöperatieve Rabobank U.A., New York Branch and/or

affiliates thereof, ING Capital LLC and/or affiliates thereof, and Nieuw Amsterdam Receivables

and/or affiliates thereof on matters unrelated to the Chapter 11 Cases.

       34.     Akin Gump has not represented and will not represent these parties in connection

with the Chapter 11 Cases.




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                             Connections to Certain Bondholders

       35.     As disclosed in Schedule 2, Akin Gump currently and/or has in the past represented

certain of the Debtors’ bondholders in matters unrelated to the Chapter 11 Cases. Akin Gump has

not represented and will not represent these parties in connection with the Chapter 11 Cases.

                Searched Parties That Currently Serve or Have Served on
        Informal and/or Official Creditors’ Committees Represented By Akin Gump

       36.     Set forth in Schedule 4 annexed hereto is a list of those Searched Parties that

currently serve or have served on one or more informal and/or official creditors’ committees

represented by Akin Gump. Akin Gump has not represented and will not represent these parties in

connection with the Chapter 11 Cases (except to the extent any such Searched Parties are members

of the Committee and, in such circumstance, Akin Gump will be representing the Committee and

not any individual Committee member in its individual capacity).

                         Other Connections and General Disclosures

       37.     Akin Gump performed general diligence to determine any connections beyond

what is disclosed in the attached schedules. Akin Gump may have represented in the past and/or

may currently represent or in the future represent entities (other than parties in the attached

schedules) not currently known to Akin Gump in matters unrelated to the Chapter 11 Cases who

may be parties in interest in these cases. To the extent that Akin Gump discovers any such

information or needs to update the information disclosed herein, Akin Gump will disclose such

information by filing a supplemental declaration pursuant to Bankruptcy Rule 2014.

       38.     In addition to the foregoing, after reasonable inquiry, I do not believe there is any

connection between Akin Gump and the U.S. Trustee or any person known by me to be employed

as an attorney with the office of such U.S. Trustee.




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       39.      It is possible that a professionally managed retirement plan on behalf of Akin Gump

employees or members of a 401(k) type plan may hold equity interests in or other securities of the

Debtors, but it is unknown to me at this time.

       40.      None of Akin Gump’s representations of creditors or other parties in interest who

are involved in these Chapter 11 Cases comprise a material component of Akin Gump’s practice,

nor does Akin Gump currently represent such parties on any issue relating to these Chapter 11

Cases. For the reasons stated herein, Akin Gump represents no interests adverse to the Debtors’

individual creditors or the Committee and, therefore, is capable of fulfilling its duties to the

Committee.

                                          Compensation

       41.      Akin Gump is willing to be retained by the Committee as its counsel and will make

appropriate applications to this Court pursuant to Bankruptcy Code sections 330 and 331 for

compensation and reimbursement of out-of-pocket expenses, all in accordance with the provisions

of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, the Interim Compensation Order,

and any other applicable order of the Court. Akin Gump will bill at its standard hourly rates,

which, in its domestic offices, are for 2019 and 2020:

             Billing Category                    2019 Range         2020 Range
             Partners                            $925 – $1,755      $995 – $1,995
             Counsel                             $610 – $1,420      $735 – $1,510
             Associates                          $510 – $975        $535 – $1,070
             Paraprofessionals                   $115 – $435        $100 – $455


The names, positions and current hourly rates of the Akin Gump attorneys currently expected to

have primary responsibility for providing services to the Committee are as follows:




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  ATTORNEY               POSITION/DEPARTMENT                   2019 HOURLY          2020 HOURLY
                                                                   RATE                 RATE
 Ira S. Dizengoff Partner / Financial Restructuring           $1,550               $1,595
                  Department
 Philip C. Dublin Partner / Financial Restructuring           $1,475               $1,595
                  Department
 Meredith         Partner/ Financial Restructuring            $1,250               $1,350
 Lahaie           Department
 Marty            Partner/ Litigation Department              $1,425               $1,595
 Brimmage
 Lacy Lawrence Partner/ Litigation Department                 $1,020               $1,350
 Joanna         Senior Counsel / Financial          $1,100     $1,195
 Newdeck        Restructuring Department
 Julie Thompson Associate / Financial Restructuring $760       $860
                Department
 Patrick Chen   Associate / Financial Restructuring $660       $775
                Department
 Madison        Associate / Financial Restructuring $560       $615
 Gardiner       Department
BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


Other attorneys and paralegals will, from time to time, assist in the representation of the Committee

in connection with these cases at Akin Gump’s standard hourly rates in effect for those personnel.

The hourly rates set forth above are Akin Gump’s standard hourly rates for work of this nature for

2019 and 2020. These rates are set at a level designated to compensate fairly Akin Gump for the

work of its attorneys and paralegals and to cover fixed and routine overhead expenses. Akin Gump

operates in a complicated, national marketplace for legal services in which rates are driven by

multiple factors relating to the individual lawyer, his or her area of specialization, the firm’s

expertise, performance, reputation, the nature of the work involved and other factors. Because the

sub-markets for legal services are fragmented and are affected by a variety of individualized and

interdependent factors, Akin Gump’s rates for certain individual attorneys may vary as a function

of the type of matter, the nature of certain long-term client relationships, and various other factors,

including those enumerated above.



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       42.     It is Akin Gump’s policy to charge its clients in all areas of practice for out of

pocket expenses incurred in connection with the client’s case. The expenses charged to clients

include, among other things, photocopying charges, travel expenses, expenses for “working meals”

and computerized research. Akin Gump will seek reimbursement for such expenses pursuant to,

among other things, any applicable guidelines established by the Office of the U.S. Trustee.

       43.     No agreement exists, nor will any be made, to share any compensation received by

Akin Gump for its services with any other person or firm other than members of Akin Gump.

       44.     For the reasons stated herein, Akin Gump represents no interest adverse to the

Debtors’ individual creditors or the Committee and, therefore, is capable of fulfilling its duties to

the Committee and the unsecured creditors that the Committee represents.

       45.     The foregoing constitutes the statement of Akin Gump pursuant to Bankruptcy

Code sections 329, 504 and 1103(a), Bankruptcy Rules 2014(a) and 2016(b) and Local Rules

2014-1 and 2016-1.

                         Statement Regarding U.S. Trustee Guidelines

       46.     The Committee and Akin Gump intend to make a reasonable effort to comply with

the U.S. Trustee’s requests for information and additional disclosures as set forth in the Revised

UST Guidelines, both in connection with this Application and the interim and final fee applications

to be filed by Akin Gump in the course of its engagement. In doing so, however, the Committee

and Akin Gump reserve all rights as to the relevance and substantive legal effect of the Revised

UST Guidelines in respect of any application for employment or compensation in these cases that

falls within the ambit of the Revised UST Guidelines.

       47.     The following is provided in response to the request for additional information set

forth in Section D.1 of the Revised UST Guidelines.



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  (a)   Akin Gump did not agree to any variations from, or alternatives to, its standard
        or customary billing arrangements for this engagement.

 (b)    No rate for any of the professionals included in this engagement varies based on
        the geographic location of the bankruptcy case.

 (c)    Akin Gump did not represent any member of the Committee in the Debtors’
        Chapter 11 Cases prior to its retention by the Committee.

  (d)   Akin Gump expects to develop a prospective budget and staffing plan to
        reasonably comply with the U.S. Trustee’s request for information and additional
        disclosures, as to which Akin Gump reserves all rights.

  (e)   The Committee has approved Akin Gump’s proposed hourly billing rates. The
        Akin Gump financial restructuring attorneys staffed on the Debtors’ Chapter 11
        Cases, subject to modification depending upon further development, are set forth
        above in paragraph 32.



                      [Remainder of page intentionally left blank]




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       I declare under penalty of perjury that the foregoing is true and correct on this WKH 2QG
day of January, 2020.
                                                     /s/ Philip C. Dublin
                                                    Name: Philip C. Dublin
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                           EXHIBIT C

                        Herink Declaration
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                              UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                                  )
    In re:                                                        )         Chapter 11
                                                                  )
    SOUTHERN FOODS GROUP, LLC, et al.,1                           )         Case No. 19-36313 (DRJ)
                                                                  )
                                       Debtors.                   )
                                                                  )         (Jointly Administered)


                 DECLARATION OF ANDREW HERINK IN SUPPORT OF THE
               APPLICATION OF THE OFFICIAL COMMITTEE OF UNSECURED
                 CREDITORS OF SOUTHERN FOODS GROUP, LLC, ET AL.TO
              RETAIN AND EMPLOY AKIN GUMP STRAUSS HAUER & FELD LLP
              AS COUNSEL, EFFECTIVE NUNC PRO TUNC TO DECEMBER 3, 2019

             Under 28 U.S.C. § 1746, I, Andrew Herink, declare as follows under penalty of perjury:

             1.     I am an Associate General Counsel of Central States, Southeast and Southwest

Areas Pension Fund (“Central States”). I am making this declaration on behalf of Central States,

in its capacity as co-chair of the Official Committee of Unsecured Creditors (the “Committee”) of

Southern Foods Group, LLC, et al., (the “Debtors”). I am competent to make this declaration in




1     The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their respective
      Employer Identification Numbers, are as follows: Southern Foods Group, LLC (1364); Dean Foods Company
      (9681); Alta-Dena Certified Dairy, LLC (1347); Berkeley Farms, LLC (8965); Cascade Equity Realty, LLC
      (3940); Country Fresh, LLC (6303); Dairy Information Systems Holdings, LLC (9144); Dairy Information
      Systems, LLC (0009); Dean Dairy Holdings, LLC (9188); Dean East II, LLC (9192); Dean East, LLC (8751);
      Dean Foods North Central, LLC (7858); Dean Foods of Wisconsin, LLC (2504); Dean Holding Company (8390);
      Dean Intellectual Property Services II, Inc. (3512); Dean International Holding Company (9785); Dean
      Management, LLC (7782); Dean Puerto Rico Holdings, LLC (6832); Dean Services, LLC (2168); Dean
      Transportation, Inc. (8896); Dean West II, LLC (9190); Dean West, LLC (8753); DFC Aviation Services, LLC
      (1600); DFC Energy Partners, LLC (3889); DFC Ventures, LLC (4213); DGI Ventures, Inc. (6766); DIPS
      Limited Partner II (7167); Franklin Holdings, Inc. (8114); Fresh Dairy Delivery, LLC (2314); Friendly’s Ice
      Cream Holdings Corp. (7609); Friendly’s Manufacturing and Retail, LLC (9828); Garelick Farms, LLC (3221);
      Mayfield Dairy Farms, LLC (3008); Midwest Ice Cream Company, LLC (0130); Model Dairy, LLC (7981);
      Reiter Dairy, LLC (3675); Sampson Ventures, LLC (7714); Shenandoah’s Pride, LLC (2858); Steve’s Ice Cream,
      LLC (6807); Suiza Dairy Group, LLC (2039); Tuscan/Lehigh Dairies, Inc. (6774); Uncle Matt’s Organic, Inc.
      (0079); and Verifine Dairy Products of Sheboygan, LLC (7200). The debtors’ mailing address is 2711 North
      Haskell Avenue, Suite 3400, Dallas, TX 75204.
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support of the Application of the Official Committee of Unsecured Creditors of Southern Foods

Group, LLC, et al. to Retain and Employ Akin Gump Strauss Hauer & Feld LLP as Counsel,

Effective Nunc Pro Tunc to December 3, 2019 (the “Application”).2

        2.       I submit this Declaration in support of the Application, pursuant to Section D.2. of

the Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses

Filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases Effective as of November

1, 2013 (the “Revised UST Guidelines”). Except as otherwise noted, all facts in this Declaration

are based on my personal knowledge of the matters set forth herein, information gathered from my

review of relevant documents and information supplied to me by Akin Gump.

        3.       I am informed by Akin Gump that the Revised UST Guidelines request that any

application for employment of an attorney under Bankruptcy Code sections 327 or 1103 be

accompanied by a verified statement from the client that addresses the following:

     (i) The identity and position of the person making the verification.

    (ii) The steps taken by the client to ensure that the applicant’s billing rates and material terms
         for the engagement are comparable to the applicant’s billing rates and terms for other
         non-bankruptcy engagements and to the billing rates and terms of other comparably
         skilled professionals.

    (iii) The number of firms the client interviewed.

    (iv) If the billing rates are not comparable to the applicant’s billing rates for other non-
         bankruptcy engagements and to the billing rates of other comparably skilled
         professionals, the circumstances warranting the retention of that firm.

    (v) The procedures the client has established to supervise the applicant’s fees and expenses
        and to manage costs. If the procedures for the budgeting, review and approval of fees
        and expenses differ from those the client regularly employs in non-bankruptcy cases to
        supervise outside counsel, explain how and why. In addition, describe any efforts to
        negotiate rates, including rates for routine matters, or in the alternative to delegate such
        matters to less expensive counsel.



2   Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Application.


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                            The Committee’s Selection of Counsel

       4.      Following its formation, the Committee interviewed five law firms to represent the

Committee as counsel in the Chapter 11 Cases. After interviewing each of these firms, the

Committee found Akin Gump to be uniquely qualified to represent the Committee. Akin Gump

has a long history of representing official committees in chapter 11 cases and related matters and

proceedings. Therefore, on the basis of, among other things, Akin Gump’s broad-based, deep and

directly applicable skill set and past experience, the Committee determined to retain Akin Gump.

                                         Rate Structure

       5.      Akin Gump has informed the Committee that its rates and terms for bankruptcy

representations are comparable to the rates and terms Akin Gump charges and agrees to for non-

bankruptcy representations and comparable to the rates and terms of other comparably skilled

professionals. The Committee has approved Akin Gump’s proposed hourly rates, as set forth in

the Application. Akin Gump has informed the Committee that its hourly rates are subject to

periodic adjustments (typically in January of each year) to reflect economic and other conditions.

The Committee has consented to such ordinary course rate increases.

                                       Cost Supervision

       6.      The Committee recognizes its responsibility to monitor the billing practices of its

counsel to ensure that the fees and expenses paid by the estate remain consistent with the

Committee’s expectations and the exigencies of these Chapter 11 Cases. Akin Gump advises that

it expects to develop, and the Committee intends to review, a prospective budget and staffing plan

to comply reasonably with the U.S. Trustee’s request for information and additional disclosures,

as to which the Committee is advised. In addition, the Committee will review the monthly fee

applications that Akin Gump regularly submits. Akin Gump’s fees and expenses will be subject



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to periodic review on a monthly, interim, and final basis during the course of the Chapter 11 Cases

by the Committee, U.S. Trustee, Debtors, other parties in interest and the Court.




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                                               Schedule 1

                                  Schedule of Searched Parties


The Committee of Unsecured Creditors

The Bank of New York Mellon Trust                      Consolidated Container Company LP
 Company, N.A.                                         Land O’Lakes, Inc.
California Dairies Inc.                                Pension Benefit Guaranty Corporation
Central States, Southeast and Southwest                Select Milk Producers, Inc.
 Areas Pension Funds

Professionals of the Committee of Unsecured Creditors

Berkeley Research Group, LLC
Miller Buckfire & Co. LLC

Professionals of the Members of the Committee of Unsecured Creditors

Alston & Bird LLP                                      Jackson Walker LLP
Emmet, Marvin & Martin LLP                             K & L Gates LLP

Debtors

Alta-Dena Certified Dairy, LLC                         DFC Aviation Services, LLC
Berkeley Farms, LLC                                    DFC Energy Partners, LLC
Cascade Equity Realty, LLC                             DFC Ventures, LLC
Country Fresh, LLC                                     DGI Ventures, Inc.
Dairy Information Systems Holdings, LLC                DIPS Limited Partner II
Dairy Information Systems, LLC                         Franklin Holdings, Inc.
Dean Dairy Holdings, LLC                               Fresh Dairy Delivery, LLC
Dean East II, LLC                                      Friendly’s Ice Cream Holdings Corp.
Dean East, LLC                                         Friendly’s Manufacturing and Retail, LLC
Dean Foods Company                                     Garelick Farms, LLC
Dean Foods North Central, LLC                          Mayfield Dairy Farms, LLC
Dean Foods of Wisconsin, LLC                           Midwest Ice Cream Company, LLC
Dean Holding Company                                   Model Dairy, LLC
Dean Intellectual Property Services II, Inc.           Reiter Dairy, LLC
Dean International Holding Company                     Sampson Ventures, LLC
Dean Management, LLC                                   Shenandoah’s Pride, LLC
Dean Puerto Rico Holdings, LLC                         Southern Foods Group, LLC
Dean Services, LLC                                     Steve’s Ice Cream, LLC
Dean Transportation, Inc.                              Suiza Dairy Group, LLC
Dean West II, LLC                                      Tuscan/Lehigh Dairies, Inc.
Dean West, LLC                                         Uncle Matt’s Organic, Inc.
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Verifine Dairy Products of Sheboygan, LLC

Debtors’ Affiliates

Atlanta Dairy (GA)                              Dean Illinois Dairies, LLC (in IL)
Barber’s Dairy (in LA)                          Dean Intellectual Property Services, Inc.
Barber’s Dairy (in AL, FL, GA, KY)              Dean Management Corporation
Barber’s Milk, LLC (in FL, GA)                  Dean Milk Company - Louisville (in KY)
Borden (MO)                                     Dean Milk Company (in KY)
Borden Dairy Products (in OK)                   Dean Services, LLC (Delaware) (LA)
Broughton Foods, LLC (in KY, OH, TN,            DF-AP #1, LLC
 WV)                                            DF-AP, LLC
Brown’s Dairy (in LA)                           East Coast Ice Cream (MI)
Bud’s Ice Cream of San Francisco (in CA)        Embest Dairy (MI)
Carnival Ice Cream, N.V.                        Excelsior Dairy (in HI)
Country Delite                                  Fairdale Farms - New York (in NY)
Country Delite Farms, LLC (in AL, GA,           Foremost Dairy (in TX, LA)
 TN)                                            Franklin Plastics, Inc.
Country Fresh (Jilbert)                         Frostbite Brands (in OH)
Country Fresh Wesley (MI)                       Frostbite Brands (MI)
Country Fresh, LLC - Grand Rapids               Garelick Farms - Lynn (in NH, NJ, NY, PA,
Creamland Dairies, LLC (in NM, TX)                RI, VT, MA)
Dairy Fresh, LLC (in NC)                        Garelick Farms - Lynn LLC (in ME)
Dairy Group Receivables GP II, LLC              Garelick Farms - Massachusetts (in MA)
Dairy Group Receivables GP, LLC                 Garelick Farms - New Jersey (in NJ)
Dairy Group Receivables II, L.P.                Garelick Farms - New York (in NY)
Dairy Group Receivables, L.P.                   Garelick Farms (in MA)
Dairy Products of Michigan (MI)                 Garelick Farms Franklin
Dairymen’s (HI)                                 Garelick Farms of Lynn
Dean Dairy Products Company (in NY)             Garelick Farms of Maine (in MA, NH, VT)
Dean Dairy Products Company, LLC (in            Garelick Farms of Maine, LLC (in ME)
 OH, PA, WV)                                    Garelick Farms of Massachusetts (in RI)
Dean Dairy Transportation Company (NJ,          Garelick Farms of New Jersey (in NY, PA)
 MI)                                            Garelick Farms of New York (in MA, NH,
Dean Foods - LeMars (in IA, NE)                   NJ, NY, PA, VT)
Dean Foods Central Ice Cream (in IN)            Garelick Farms of Rhode Island (in Ma, PA,
Dean Foods Company of Indiana, LLC (in            RI)
 IN)                                            Garelick Farms of Vermont (in MA, NH, NJ,
Dean Foods Foundation                             NY, PA, VT)
Dean Foods Holding Company (PA, WA)             Garelick Farms of Vermont, LLC (in ME)
Dean Foods Management, LLC (OH)                 Good Karma Foods, Inc.
Dean Foods National Warehouse (in CO)           Hawaii’s Dairy (HI)
Dean Foods of Decatur (in IN)                   Heartland Farms (in CA)
Dean Foods Services, LLC (MN, NE, ND,           Hygeia Dairy (in TX)
 TX, IL, MI)                                    Ideal Dairy
Dean Holding Company Wisconsin (LA)             Ideal Dairy Farms (03/23/06) (NJ, NY)

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Importadora y Distribuidora Dean Foods,          Northern Falls Water Company (MI)
  S.A. de C.V.                                   Oak Farms (Houston)
IS-IMMUNO STIMULATION (HI)                       Oak Farms (San Antonio)
Jilbert Dairy, Inc. (MI)                         Oak Farms Dairy – Waco (in TX)
Land O’Lakes                                     Oak Farms Dairy (Dallas)
Land-O-Sun (in FL, GA, IL, IN, KY, NC,           Oak Farms Dairy (in OK, TX)
  NY, OH, TN, VA)                                Organic Valley Fresh, LLC
Land-O-Sun Dairies (in DE, FL, GA, IL, IN,       Pet Dairy (in GA, NC, TN, VA)
  KY, NC, NY, OH, TN, VA)                        PET Dairy Richmond (VA)
Land-O-Sun Dairies, LLC                          Pet O’Fallon, LLC (in IL)
Lani Moo (HI)                                    Price’s Creameries (in TX)
Lehigh Valley Dairy                              Purity Dairies (in TN)
Liberty Dairy Company (in MI, OH)                Purity Dairies, LLC (in KY)
Louis Trauth Dairy, LLC (in IN, KY, OH)          Reiter Dairy, LLC (Akron)
McArthur Dairy, LLC (in FL)                      Reiter Dairy, LLC (Springfield)
McDonald Dairy (MI)                              Robinson Dairy, LLC (in CO, IL, WY)
Meadow Brook Dairy (in PA)                       Scangas Bros. Holdings - Massachusetts (in
Meadow Brook Dairy Company (in NY,                MA)
  OH)                                            Schenkel’s All-Star Dairy, LLC (in IL, IN,
Meadow Gold (Billings)                            KY, MI)
Meadow Gold (Boise)                              Schepp’s Dairy (Dallas)
Meadow Gold (Englewood)                          Schepps Dairy (in OK, TX)
Meadow Gold (Grand Junction)                     Southeastern Juice Packers, Inc. (MI)
Meadow Gold (Greeley)                            Southwest Ice Cream
Meadow Gold (Hawaii)                             Southwest Ice Cream Specialties (in TX)
Meadow Gold (HI)                                 Stroh’s Ice Cream (MI)
Meadow Gold (in MT, ID, OK, CO, OR,              Suiza Management, LLC (TX)
  NV)                                            Swiss Dairy (in CA)
Meadow Gold (Kalispell)                          Swiss Premium Dairy, LLC (in DE, PA)
Meadow Gold (Las Vegas)                          T.G. Lee Dairy (FL)
Meadow Gold (Salt Lake City)                     T.G. Lee Foods, LLC (FL)
Meadow Gold (Tulsa)                              Tenedora Dean Foods Internacional, S.A. de
Meadow Gold Dairies (in ID, OK, CO, NE,           C.V.
  HI, UT, MO, MT, AZ, OR, NV)                    The Stroh Ice Cream Company (MI)
Melody Farms, LLC (MI)                           Tuscan Dairy
Mile High Ice Cream (in CO, NE, WY)              West Lynn Creamery – Massachusetts (in
Miscoe Springs – Massachusetts (in MA)            MA)
Mooney Creamery (MI)                             West Lynn Creamery – New Hampshire (in
Mootown (MI)                                      NH)
Mootown Distributors (MI)                        West Lynn Creamery – New Jersey (in NJ)
Naalehu Dairy (in HI)                            West Lynn Creamery – New York (in NY)
Nafziger (MI)                                    West Lynn Creamery – Vermont (in VT)
Nafziger Ice Cream (MI)                          West Lynn Creamery Realty –
Nature’s Best (in RI)                              Massachusetts (in MA)




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5% or More Equity Holders

BlackRock Fund Advisors                      Morgan Stanley & Co. LLC
Dimensional Fund Advisors L.P.               The Vanguard Group, Inc.

Bankruptcy Judges

Albert Alonzo                                Jeff Bohm
David J. Bradley                             Jeffrey P. Norman
David R. Jones                               LinhThu Do
Eduardo V. Rodriguez                         Mario Rios
Evangeline C. Attaway                        Marvin Isgur
Jeannie Chavez

Bankruptcy Professionals

Alvarez & Marsal North America, LLC          Evercore Group L.L.C.
Davis Polk & Wardell LLP                     Norton Rose Fulbright US LLP
Epiq Corporate Restructuring, LLC

Banks/Lender/UCC Lien Parties/Administrative Agents

ACF FinCo I L.P.                             Coöperatieve Rabobank U.A., New York
BMO Harris Bank N.A.                          Branch
CIT Northbridge Funding I LLC                ING Capital LLC
CoBank, ACB                                  Nieuw Amsterdam Receivables
Coöperatieve Rabobank U.A.                   PNC Bank, National Association
 (Administrative Agent)

Bondholders

Advent Capital Management, LLC               Carlson Capital, L.P.
Aequim Alternative Investments, L.P.         Clearstream Bank - Austria
AllianceBernstein, L.P. (U.S.)               Clearstream Bank - Belgium
Antara Capital L.P.                          Clearstream Bank - Canada
Antora Peak Capital, L.P.                    Clearstream Bank - France
Ascribe Capital, LLC                         Clearstream Bank - Germany
Aurelius                                     Clearstream Bank - Italy
Bancaribe Curacao Bank, NV                   Clearstream Bank - Luxembourg
Bank of Nova Scotia Trust Company            Clearstream Bank - Monaco
BlackRock Advisors, LLC                      Clearstream Bank - Spain
BMO Asset Management, Inc.                   Clearstream Bank - Switzerland
Brownstone Investment Group, LLC             Clearstream Bank - United Kingdom
BVK- Beamtenversicherungskasse des           Clearstream Bank - United States
 Kantons Zurich                              Clearstream Bank - Uruguay
Calamos Advisors, LLC                        Cortland Credit Group, Inc.

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Crèdit Andorrà Asset Management               Logan Circle Partners, L.P.
Deseret Trust Company                         Madison Investment Advisors, LLC
Ensign Peak Advisors, Inc.                    Manulife Asset Management (U.S.), LLC
Euroclear Bank - Asia (Other)                 Mellon Investments Corporation
Euroclear Bank - Austria                      Metlife Investment Advisors, LLC
Euroclear Bank - Belgium                      Mont Blanc Capital Management AG
Euroclear Bank - Canada                       Montana State Board of Investments
Euroclear Bank - Cyprus                       Morgan Stanley Investment Management
Euroclear Bank - France                         Inc.
Euroclear Bank - Germany                      Mudrick Capital
Euroclear Bank - Israel                       NNIP Advisors B.V.
Euroclear Bank - Jersey C.I.                  Nomura Securities International, Inc.
Euroclear Bank - Liechtenstein                Pace Securities Corp
Euroclear Bank - Luxemburg                    Pacific Income Advisers, Inc.
Euroclear Bank - Netherlands                  Paloma Securities LLC
Euroclear Bank - Other                        Parquet Capital Management, LLC
Euroclear Bank - Panama                       PenderFund Capital Management, LTD
Euroclear Bank - Russia                       PFA Asset Management A/S
Euroclear Bank - Sweden                       Phoenix Investment Advisors
Euroclear Bank - Switzerland                  Quinn Opportunity Partners, LLC
Euroclear Bank - United Kingdom               Robeco Institutional Asset Management
Euroclear Bank - United States                  B.V.
Farmstead                                     Safra Securities, LLC
Forest Capital Corp.                          Scotia Capital (USA), Inc.
Garland Business Corporation                  SG Americas Securities, LLC
Goldman Sachs Asset Management, L.P.          South Dakota Investment Council
  (U.S.)                                      Standard Partners Fund, LP
Guardian Asset Management, Inc.               State Street Global Advisors (SSgA)
Healthcare of Ontario Pension Plan            Stifel, Nicolaus & Company, Inc.
HSBC Private Bank (Suisse) SA                 Stone Harbor Investment Partners, L.P.
Invesco Capital Management, LLC               Three Court, L.P.
J.P. Morgan Investment Management, Inc.       UBS Securities, LLC
J.P. Morgan Securities, LLC                   United Heritage Insurance (Internal Team)
J.V.B. Financial Group, LLC                   Voya Investment Management, LLC
Kingsferry Capital LLC                        Whitebox Advisors, LLC
Knighthead Capital Management, LLC

Customers - Top 50%

Ahold/Delhaize America Inc.                   Morningstar
Albertsons LLC/HQ                             Starbucks
Aldi Inc./HQ                                  Supervalu Inc./HQ
Baskin Robbins/Dunkin Donuts                  Sysco
C & S Wholesale Grocers Inc.                  Target Corp.
CVS/Caremark Corp.                            US Foodservice
Dollar General                                Wal-Mart Stores/HQ

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Directors

Beringause, Eric                          Muse, John R.
Hill, Janet V.                            Owens, B. Craig
Mailloux, J. Wayne                        Turner, Jim L.
McCluskey, Helen

Officers

Abbott, Christopher (Chris)               Kollock, Kevin
Adams, Mike                               Kornfeind, Brian
Beagan, Kevin                             Kraft, Vicki
Beringause, Eric                          LaValley, Daniel J.
Bernard, David                            Lee, Donald
Bladdick, Jeffrey                         Lippold, Dean A.
Bukowski, Dan                             Longmier, Mark
Campbell, Adria E.                        Lowenberg, Sonia
Condon, Shawn T.                          Marcy, Charles
CT Corporation - McMahon, Daniel P.       Martin, Dyame P.
Dana, Terry                               McLean, Matt
Dawson, Jeffery S.                        Mielke, Michael J
DeGuia, Edgar                             Mills, James (Scott)
Delaware Trust Company - (Primary         Munoz, Patricia
  Contact: Alan R. Halpern)               Murphy, William (Bill)
Devkota, Pariksha                         Murray, Thomas N.
Divjak, Anne                              Niermann, Mark
Dockter, Bryan                            Nolen, Cathie
Doherty, Joshua                           Packer, Gregory
Ehrman, Thomas                            Poremba, David J.
Ekpo, Bassey                              Potvin, Toni
Finck, Chris H.                           Rahlfs, Gary
Gerrish, Steve                            Riley, Brian K.
Giovanetti, William (Bill)                Riley, William (Bill)
Goldstein, Lewis R.                       Scamardo, William
Gribbons, Mary Kay                        Schneider, Amy Jo
Guenther, Juliane (Jill)                  Sniegocki, Richard (Ted)
Gwinn, Jacqueline T.                      Spielman, Sean S.
Harrison, Carl M.                         Starr, David
Hawk, Timothy                             Stis, David N.
Hernandez, Antonio                        Stockler, Kay F.
Hinson, Edwin                             Sumner, Jane A.
Howison, Lynne                            Sutton, James (Jay)
Hueber, Stuart R.                         Tollison, Eddie K.
Hwang, Eric                               Waterman, Kristy N.
Kane, Steven                              White, John
Kieffer, Sharon                           Whitman, Andy

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Williams, Mary                                   Yegerlehner, Eric J
Williams, Molly                                  Zazzaro, Jason J.
Wolljung, Gregory

Insurance

1274 Antares Lloyds Syndicate                    Illinois National Insurance Co.
2003 SJC Lloyd’s of London                       Illinois Union Insurance Company
2623/0623 AFB Lloyds Syndicate – Beazley         Indemnity Insurance Co of North America
ACE American Insurance Co.                       Interstate Fire & Casualty Co.
ACE Fire Underwriters                            Liberty Mutual Insurance Europe SE
AGCS Marine Insurance                            Liberty Specialty Markets Bermuda Limited
Allianz                                          Magna Carta Insurance Ltd.
Allied World Assurance Company Ltd.              Markel Bermuda Ltd.
Argo Re Ltd.                                     Navigators Insurance Company
Aspen Bermuda Ltd.                               NFIP
Aspen Specialty Insurance Co.                    Old Republic Insurance Company
AXIS Insurance Company                           Princeton Excess & Surplus Lines Ins. Co.
Beazley Insurance Company                        QBE Specialty
Berkley Insurance Company                        RSKCo Insurance Company
Berkshire Hathaway Specialty Insurance Co.       Sedgwick Claims Management Services
Broadspire Insurance                               Ltd.
Chubb Seguros Mexico, S.A.                       Shelter Reinsurance Co
CNA Insurance                                    Starr (1919 CVS Lloyd’s)
Crawford & Company                               Starr Companies
Empire Indemnity                                 The North River Insurance Company
Endurance American Insurance Company             Travelers Insurance Company Ltd.
Everest Indemnity Insurance Company              Travelers Property Casualty Company of
Everest National Insurance Company                 America
Factory Mutual Insurance Company                 XL Catlin Bermuda
Federal Insurance Company (“CHUBB”)              XL Insurance America, Inc.
Gallagher Bassett Services                       XL Insurance Company SE
General Security Indemnity Co. of Arizona        XL Specialty Insurance Company
Great American Insurance Company                 Zurich American Insurance Company
Helmsman Management Services LLC

Litigation

Acosta                                           Keefe, Timothy James
Bankhead, Larry                                  Matias
Batts, Nylah                                     Musikar
Cumberland Farms                                 Novalk, Steven
Davis, Thomas                                    Padilla, Balbina
DDH                                              Perez, Juan
Friendly’s Manufacturing and Retail, LLC         Pike, Cynthia
Jankowski, Richard                               Rhoton, Donald

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Richeson, Michael                                The Milkman, LLC
Ricon, Inc.                                      Villegas, Joel
Sanchez, Charles                                 Walters, Williams
Sheehan, Douglas                                 Weathertech Distributing Company, Inc.
Stone, Cathy                                     Williams, David

Other Significant Creditors

American Casualty Company                        Paccar Financial Corp
Ascentium Capital, LLC                           Pacific Rim Capital
Banc of America                                  Penske
Bank of the West                                 People’s Capital
BB&T Equip Finance                               Piedmont Natural Gas
BciCapital (formerly City National Capital       PNC Equipment Leasing, LLC
 Finance Inc.)                                   Regions Equipment Finance Corporation
BMO Harris (formerly GE CF Trust)                Ryder Leasing
BMO Harris Equipment Finance Company             Salem Leasing
BMO Harris Transportation Finance                Siemens Financial Services, Inc.
Bridge Capital Leasing, Inc.                     Signature Financial LLC
CHUBB (ACE American Insurance                    Sompo
 Company)                                        Sovereign (Santander Bank)
Citizens Asset Finance (fka RBS Asset            Suntrust Equipment Finance & Leasing
 Finance)                                         Corp.
Continental Casualty Company                     Superior Tank
Daimler Trust                                    Tennessee Valley Authority
Duke Energy Carolinas, LLC                       TIAA Commercial Finance (formerly
Duke Energy Florida, LLC                          EverBank Commercial Finance, Inc.)
Duke Energy Indiana, LLC                         Transervice Lease Corp.
Duke Energy Progress, LLC                        Travelers Casualty and Surety Company of
East West Bank                                    America
Fifth Third Equipment Finance                    Travelers Indemnity Co.
Fleet Advantage, LLC                             United States Fidelity & Guaranty Company
Key Equipment Finance                            United Trailer Leasing (Initiated & paid
Liberty Mutual Insurance Company                  locally)
MB Equipment Finance, LLC                        Wells Fargo (formerly GE CF Trust)
Momentive Specialty Chemicals Inc.               Wells Fargo (formerly GE TF Trust)
New Jersey Department of Environmental           Wells Fargo Equipment Finance, Inc.
 Protection                                      Westchester Fire Insurance Company
Ohio Bureau of Workers’ Compensation             Zurich American Insurance Company

Top 30 Unsecured Creditors

Acosta, Inc.                                     Central States, Southeast and Southwest
ADM Archer Daniels Midland                        Areas Pension Plan
Berry Global Inc.                                Consolidated Container Company
California Dairies Inc.                          Dairy Farmers of America

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 Ecolab Inc.                                    Richard Jankowski
 Elopak Inc.                                    Ryder System, Inc.
 Evergreen Packaging Inc.                       Saputo Dairy Foods USA LLC
 Huhtamaki Inc.                                 Select Milk Producers, Inc.
 International Food Products                    Silgan Plastic Closure Corporation
 International Precision Components             Southeast Milk, Inc.
   Corporation                                  The Bank of New York Mellon Trust
 Land O’Lakes, Inc.                              Company, N.A.
 Maple Dairy                                    U.S. Department of Agriculture
 Nestle USA                                     WestRock
 Pension Benefit Guaranty Corporation           WS Packaging Group, Inc.
 Penske Truck Leasing Company LP
 Ralph Scozzafava
Retail Wholesale & Department Store
 International Union and Industry Pension
 Fund

 U.S. Trustee Office

 Barbara Griffin                                Hector Duran
 Christine March                                Jacqueline Boykin
 Christy Simmons                                Linda Motton
 Clarissa Waxton                                Luci Johnson-Davis
 Diane Livingstone                              Patricia Schmidt
 Glenn Otto                                     Stephen Statham
 Gwen Smith

 Unions

 Automotive Industries                          General Teamsters Local No. 061
 Bakers Union Local 358                         Hawaii Teamsters Health & Welfare Trust
 Board Trustees Teamsters Natl 401k             Hawaii Teamsters Local No. 996
 California Machinists 401k Plan                IAM National Pension Fund
 Central Pa Teamsters Health & Welfare          ILWU Kauai Division
 Central Pa Teamsters Pension Fund              International Association of Mach
 Central Pension Fund                           International Brotherhood of Teamsters
 Central States Pension Fund                    Intl Union of Operating Engineers
 Cincinnati Life Insurance Company              IUOE Local 99 H&W Fund
 Dairy Employee Union Local 754                 IUOE Local 99 Union Dues
 Dairy Industry Union Pension Plan              IUOE Stationary Engineers Local 39
 Delta Health Systems                           Joint Apprentice Committee
 District 9                                     Joint Council of Teamsters 3
 Employer Teamsters Local Union                 Labor Alliance Managed Trust Fund
 Gem Group Incorporated                         Leo Gerard International Treasurer
 General Drivers & Helpers Union                Local 584 Pension Trust Fund
 General Drivers Warehousemen                   Lydic Printing Company

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Meadow Gold Credit Union                       Teamsters Local Union 087
Michigan Conference of Teamsters               Teamsters Local Union 120
Michigan Drive                                 Teamsters Local Union 150
Milk Drivers & Dairy Employee #246             Teamsters Local Union 166
Milk Drivers Local #348                        Teamsters Local Union 175
Milk Drivers Pension Trust                     Teamsters Local Union 186
Milk Plant Employees                           Teamsters Local Union 190
National Drive                                 Teamsters Local Union 245
New England Teamsters & Trucking               Teamsters Local Union 261
Northern California Gen Teamsters              Teamsters Local Union 315
NYS Teamsters Health & Hospital Fund           Teamsters Local Union 331
NYS Teamsters Local Union 264                  Teamsters Local Union 340
NYS Teamsters Pension & Retirement Fund        Teamsters Local Union 348
Ope Welfare Fund                               Teamsters Local Union 385
OPEIU                                          Teamsters Local Union 386
OPEIU Local 98                                 Teamsters Local Union 397
Operating Engineers Local 501                  Teamsters Local Union 406
Preferred Financial Corporation                Teamsters Local Union 455
Rockford Area Dairy Industry #754              Teamsters Local Union 463
RWDSU Health & Welfare Fund Ins.               Teamsters Local Union 471
RWDSU Local 107                                Teamsters Local Union 483
RWDSU Local 201                                Teamsters Local Union 486
RWDSU Local 379                                Teamsters Local Union 492
RWDSU Local 386                                Teamsters Local Union 495
RWDSU Local 1808                               Teamsters Local Union 509
RWDSU Pension Fund                             Teamsters Local Union 517
San Diego County Teamsters                     Teamsters Local Union 519
So Cal Ops & Maint Eng Apprentice              Teamsters Local Union 523
Southern California Dairy Fund                 Teamsters Local Union 528
Southwest Multicraft Health                    Teamsters Local Union 533
Stationary Engineer Local 39 Trust             Teamsters Local Union 542
Tanks Direct                                   Teamsters Local Union 553
Teamster Health & Welfare Fund PA              Teamsters Local Union 592
Teamsters Benefit Trust                        Teamsters Local Union 630
Teamsters Chauffeurs Warehousemen              Teamsters Local Union 638
Teamsters General Local Union 662              Teamsters Local Union 639
Teamsters Joint Council #83 of VA              Teamsters Local Union 683
Teamsters Local Union 002                      Teamsters Local Union 703
Teamsters Local Union 007                      Teamsters Local Union 728
Teamsters Local Union 014                      Teamsters Local Union 745
Teamsters Local Union 017                      Teamsters Local Union 769
Teamsters Local Union 020                      Teamsters Local Union 783
Teamsters Local Union 026                      Teamsters Local Union 822
Teamsters Local Union 029                      Teamsters Local Union 853
Teamsters Local Union 063                      Teamsters Local Union 886
Teamsters Local Union 050                      Teamsters Local Union 890

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Teamsters Local Union 952
Teamsters Local Union 983                       UFCW Local 227
Teamsters Local Union 1035                      UFCW Local 1625
Teamsters Local Union 210 Health Welfare        United Dairy & Bakery Workers
Teamsters Local Union 639 Employers Hlth        United Dairy Workers Local 102
Teamsters Miscellaneous Security                Utah Idaho Teamsters Security Fund
Teamsters Security Fund                         Western Conference of Teamsters
Twin Cities Automotive Lodge 737                Western Conference of Teamsters Penn
UAW Local 174                                   Western Pa Teamsters & Employers
UFCW Industry Pension Fund                      Western States Ope Pension Fund
UFCW Local 88T

Vendors – Top 89%

101 Incorporated                                Berry Global Inc.
7 Hs Dairy Farm                                 Big Island Dairy
Ace American Insurance Company                  Blackhawk Molding Co.
Acosta Inc.                                     Blackjack Ridge Dairy
Adkins Milk Hauling                             Blommer Chocolate Co.
ADM Archer Daniels Midland                      Blue Care Network of Michigan
ADP LLC                                         Blue Northern Distributing LLC
Advance Milk Commodities                        Bluegrass Dairies Incorporated
Affinity Agriculture LLC                        BMO Harris Equipment Finance
Ahold Financial Services LLC                    BNSF Logistics LLC
Ajb Ranch L.P.                                  Boller Construction Company Inc.
Alco of Wisconsin Incorporated                  Borden Dairy Co of Kentucky LLC
Alliant Technologies LLC                        Bridge Funding Group Inc.
Alvarez & Marsal Holdings LLC                   Bridgestone Americas Tire
American Fuji Seal Inc.                         Brook Corner LLC
Americold Logistics LLC                         Brook Crystal
Aon Risk Services                               Brooks Rigging Inc.
Apex Logistics Group                            Burris Logistics
Apple Shamrock Dairy Farms LLC                  Byrds Dairy
Ares Risk Management                            Cal Maine Foods Inc.
Associated Milk Producers Inc.                  Calfee Riverland Farms
Austintown Dairy                                California Dairies Inc.
Automation Personnel Services Inc.              Cannon Equipment Co.
Automotive Rentals Inc.                         Capco Energy Solutions LLC
B&B Distributors Incorporated                   Capital Farm Credit PCA
Banc of America Leasing                         Cardata Consultants Inc.
Bank of The West                                Cargill Corn Milling
Barry Callebaut USA LLC                         Cargill Texturizing Sol
Bay Corrugated Cont                             Carolina Manufacturing Services, Inc.
Bayland Transport Incorporated                  Carrier Priority Card Process
BB&T Equipment Finance Corp.                    Caterpillar Financial Servi
Berkshire Dairy & Food Products                 Cayuga Marketing LLC

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Cayuga Milk Ingredients LLC                  Dairy Products Inc.
CD Facilities LLC                            Dairy.Com
CDFA Milk Pooling Branch                     Danisco USA Inc.
Central Milk Producers Cooperative           Dannon Co. Inc.
Central Pa Teamsters Health & Welfare        Danone US LLC
Central States Pension Fund                  Darigold Inc.
Chep Pallecon Solutions                      David Michael & Co. Inc.
Chep USA                                     Dean Foods Chemung Harvard IL Ovf
Chevron Phillips Chemical Co.                Dean Foods Gandys Lubbock TX Ovf
Chobani LLC                                  Dean Foods Lol Woodbury MN OVF
CHR Hansen Inc.                              Dean Foods Model Dairy Reno NV OVF
Citizens Asset Finance Inc.                  Deloitte & Touche LLP
Citrofrut USA LLC                            Deloitte Consulting LLP
Citrosuco GmbH                               Denali Advanced Integration
Citrus Systems Inc.                          Denali Ingredients LLC
CKS Packaging Inc.                           Dennis Group LLC
Clasen Quality Chocolate                     Djl Management LLC
Classic Mix Partners LLC                     Domino Foods Incorporated
Clofine Dairy & Food Products Inc.           Dot Foods Inc.
Clydeside Farm                               Double H Plastics Inc.
Cobblestone Milk Cooperative                 Driveline Retail Merchandising Inc.
Cognizant Technology Solutions US            Dutch Dairy LLC
Cold Front Distribution LLC                  Eagle Bank and Trust
Coldstream Logistics Inc.                    East West Bank
Computershare Inc.                           Ecolab Inc.
Concord Foods LLC                            Ecom Ingredients LLC
Consolidated Container Company LP            Edgar A Weber & Company
Continental Tire the America                 Elopak Inc.
Cooper Legacy Dairy LLC                      Erie Cooperative
Cooperative Milk Producers Assoc             Ernest Packaging Sol
Cooperative Regions of Organic Pro           Ernst & Young LLP
Corcentric Collective Bus                    Evergreen Packaging Inc.
Country Pure Foods                           Exxonmobil Chemical Co.
Coupa Software Inc.                          Family Dollar
Coyote Logistics LLC                         Farm Credit Mid America
CP Flexible Packaging                        Farm Credit Services of America
CP Tower Owner LLC                           Federal Milk Market Administrator
Craun Samantha M                             Fifth Third Equipment Financ
Cream-O-Land Dairies LLC                     First Advantage Tax Consult
Crest Foods Company Inc.                     Five Star Transport Solutions Inc.
Crown Credit Company                         Fona International Inc.
CSC Sugar LLC                                Foremost Farms USA
Dairy Conveyor Corp.                         Forsman & Bodenfors
Dairy Farmers of America Inc.                Fox Ledge Inc.
Dairy Industry Union Pension Plan            Gem Freshco LLC
Dairy Marketing Services LLC                 General Mills Finance Inc.

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Genpact International Inc.                 Ingredion Inc.
Genpak LLC                                 Insight Dairy
Georgia Pacific Corrugated                 Integrated Packaging Machinery LLC
Giant Eagle Inc.                           Integrity Express Logistics LLC
Givaudan Flavors Corp.                     Inter American Products Inc.
Glendi Incorporated                        International Flavors & Fragrances
Godding Transport LLC                      International Food Prod
Good Humor Breyers                         International Paper
Grainger                                   IPC Corp.
Grant Thornton                             Irasburg Unit
Graphic Packaging Intl                     Jacobs Dairy LLC
Grassland Dairy Products Inc.              JM Swank LLC
Great Lakes Milk Products Inc.             Jogue Incorporated
Great Western Bank                         John R Ames, CTA
Green Spot Packaging                       Joint Council of Teamsters 3
Greene Trucking Incorporated               K K Carriers
Guittard Chocolate Co.                     Kandel Transport Inc.
Harrison Dairy Incorporated GA             KDV Label Company Inc.
Haskell Company                            Kellogg Sales Co.
Hawaiian Teamsters Health & Welfare        Kennesaw Transportation Inc.
HCL America Inc.                           Kerry Ingredients & Flavours
HCL Technologies Ltd                       KLLM Transport Services LLC
Hidden Villa Ranch                         Labor Alliance Managed Trust Fund
Hill Country Dairies LLC                   Lafayette State Bank
Hillandale Farms East                      Land O’Lakes, Inc.
Hillandale Farms of Pennsylvania           Lee John S 000389
Hollandia Dairy Inc.                       Legend Public Relations
Holsteins Unlimited LLC 000277             Legion Logistics LLC
Holtgrave Distributing Inc.                Leprino Foods Dairy Products Co.
Hoogwegt US Inc.                           Life Insurance Co. of North America
Horizon Media Incorporated                 Lindell Farms LLC
Howard Baer Incorporated                   Liqui Box Corp.
HP Hood LLC                                Lisma Logistics Inc.
Hudsonville Creamery & Ice Cream           Lithotype Co. Inc.
Huhtamaki Inc.                             Lone Star Milk Producers Inc.
Huntington Technology Financ               Los Angeles County Tax Collector
Hutt Trucking Co. Inc.                     Lucerne Foods Inc.
IBM Corp.                                  Lueken Dairy Farm Incorporated
Idaho Milk Products Inc.                   LW Wilson & Sons LLC
IML Containers Iowa Inc.                   Lyons Magnus Inc.
Imperial Distributing Inc.                 Lyons Magnus LLC
Indian River Hauling Florida               Manpower
Indian River Transport Co.                 Maple Dairy
Indiana Sugars Incorporated                Mars Wrigley Confections US
Ineos Olefins & Polymers USA               Marsh USA Inc.
Information Resources Incorporated         Maryland & Virginia Milk Producers

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Matson Navigation Company Inc.                 Premier Milk Inc.
Meadow Wood Farms                              Prepass
Mercedes Benz Financial Serv                   PricewaterhouseCoopers LLP
Mercer USA Inc.                                Prime Inc.
Merry Milk Maid                                Pro Star Logistics Inc.
Michigan Milk Producers Association            Quantum Health Inc.
Microsoft Corporation                          Queensboro Farm Products Inc.
Millard Refrigerated Services LLC              Quickway Logistics Inc.
Miltran Inc.                                   Rabo Agrifinance Incorporated
MMPA                                           Randstad
Motion Industries Inc.                         Randy Van Velduizen Farm
Mountain View Hauling LLC                      Ray Calfee
MRV Dairy Solutions                            Readington Farms Inc.
Multi Rose Jerseys Inc.                        Ready Roast Nut Co. LLC
Nalco Company                                  Red Diamond Inc.
National Dairy Promotion and Research          Red Stag Logistics LLC
National Financial Services LLC                Regions Equipment Finance
National Fluid Milk Processor Promotion        Rehrig Pacific Company
 Board                                         Rhino Foods Inc.
National Sugar Marketing LLC                   Rich Dairy Products Inc.
Navarro Pecan Co. Inc.                         Richs Ice Cream
Navistar Inc.                                  Robertet Flavors Inc.
Nestle USA Inc.                                Rocket Products Inc.
Ninth Avenue Foods                             Rogers Manufacturing Co.
Norse Dairy Systems                            Rowley Trucking Incorporated
O Ice LLC                                      Ruan Logistics Corporation
O&W Dairy Farm Incorporated                    RWDSU
O-At-Ka Milk Products Coop Inc.                RWS Design & Controls Inc.
Odyssey FoodTrans LLC                          Ryder Integrated Logistics
Oldenkamp Trucking Inc.                        Ryder Truck Rental Inc.
Onestream Software LLC                         Safeway Inc.
Organic Valley Fresh                           Santander Bank Na
Owen Transportation Services LLC               Saputo Cheese USA Inc.
Pacific Rim Capital Inc.                       Saputo Dairy Foods USA LLC
Packaging Corp of America                      Sartori Company
Paradis Inc.                                   SAS Dairy
Pecan Deluxe Candy Co.                         Scattered Acres Incorporated
Penske Truck Leasing Co. L.P.                  Schreiber Foods Incorporated
Peoplenet Communications                       Schuster Company
Pepsico                                        Securitas Security Services US Inc.
Performance Logistics LLC                      Select Milk Producers, Inc.
Phoenix Packaging Operations                   Sensient Flavors LLC
Pine Ton Farm LLC                              Sensoryeffects Inc.
Pioneer Cold                                   Shamrock Arizona Dairy Div
Pondera Colony                                 Shenandoah Dairy Incorporated
Premier Juices                                 Shoptology Incorporated

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Signature Financial LLC                         Timon Perron Trucking Incorporated
Silgan Ipec Corp.                               Tobico Transportation LLP
Silgan Plastic Closure                          TPX Transport LLC
Sirva Relocation LLC                            Trilogy Dairy L.P.
Slalom LLC                                      Tropicana Chilled DSD
Smithfield Direct LLC                           Twin Creeks Farm LLC
Sokol And Co.                                   Twin Express Incorporated
South Georgia Pecan Co.                         Unicold Corp.
Southeast Milk Incorporated                     United Dairymen of Arizona
Southern Cross Dairy LLC                        United States Department of Agriculture
Spring Hill Pure Natura                         United Sugars Corp.
SS Brown Transportation Inc.                    Uptown Cityplace LLC
St Albans Coop Creamery Inc.                    Utah Idaho Teamsters Security Fund
Stanpac Inc.                                    Velocity
Stanton Farms LLC                               Vendor Consulting Group Inc.
Star Kay White Inc.                             Ventura Coastal LLC
Steamburg Milk Producers Coop                   Veritiv Operating Co.
Stremicks Heritage Foods LLC                    Virginia Dare
Sunrise Dairy Inc.                              Vivio Health Inc.
SunTrust Equipment Finance                      WageWorks
Superior Dairy Inc.                             Wagner Meinert LLC
Suwannee Dairy Incorporated                     WD Logistics LLC
Sweetener Supply Corp.                          Wells Fargo
Sweetwater Valley Farm Inc.                     Wells Fargo Equipment Finance
Synergy Flavors Inc.                            Wells Fargo Pa Receipts
Tampico Beverages Inc.                          Wenning Dairy LLC
Tastepoint Inc.                                 Werhane Enterprises Ltd.
Tate & Lyle Ingredients Americas                West Point Dairy Prod LLC Plant 1
Tax Assessor Collector                          West Point Dairy Products LLC Utah
Tc Jacoby & Company Inc. B110210                Western Conference Of Teamsters
Teamsters Benefit Trust                         WestRock
Teamsters Health & Welfare Fund                 White Eagle Cooperative Association
Teamsters Joint Council #83 Of Va               White Oak Dairy
Teamsters Local Union 261                       Winburn Milk Company Inc.
Telerx Marketing Inc.                           Winnesota Regional Transportation
Tetra Pak Inc.                                  Witte Bros Exchange Incorporated
The Dairy Group Inc.                            Woodall Farms
Thermo King Svc Inc.                            WS Packaging Group
Thunder Hollow Farm                             Xtra Lease LLC
Timmons Farms Ltd.                              Young Brothers Ltd.

Notice of Appearance Parties, as of December 19, 2019

14770 Centreport Office Owner LLC               3MD, Inc. d/bffr/a Denali Advanced
3M Company                                       Integration
                                                Ad Hoc Group of Bondholders

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American Fuji Seal, Inc.                        Ecolab, Inc.
Angelina County                                 Employer Direct Healthcare LLC
Ascentium Capital LLC                           Fifth Third Bank
Athens Utilities Board                          Fort Bend County
Banc of America Leasing & Capital, LLC          Freese and Nichols, Inc.
Bank of Montreal                                General Machinery Company, Inc.
Bay Corrugated Container, Inc.                  Hamilton CAD
BB&T Equipment Finance Corporation              Harlingen CISD
Bexar County                                    Harris County
Blanco CAD                                      Hays CISD
Blommer Chocolate Company                       Hidalgo County
BMO Harris Bank N.A.                            IBM Credit LLC
BMO Harris Equipment Finance Co.                Interbake Foods, LLC
Bridge Capital Leasing, Inc.                    Island Dairy, LLC
Bridge Funding Group, Inc.                      Jefferson County
Broadway Hights Dairy, Inc.                     Key Equipment Finance, a division of
Caldwell CAD                                      KeyBank National Association
California Dairies Inc.                         Lampasas County
Cameron County                                  Land O’Lakes, Inc.
Central Milk Producers Cooperative              Leakey Independent School District
CenturyLink Communications, LLC                 Liberty Mutual Insurance Company
Chobani, LLC                                    Limestone County
Chubb Companies                                 Lindox Equipment Company
Citizens Asset Finance, Inc.                    Liqui-Box Corp.
Citizens Bank, N.A.                             LLano County
City of Harlingen                               Los Fresnos CISD
City of McAllen                                 Lubbock Central Appraisal District, et al
City of Mercedes                                Mansfield Oil Company
Cleveland ISD                                   Marissa Jarratt
Conopco, Inc d/b/a Unilever                     Matagorda County
Consolidated Container Company, LLC             Maverick County
Convoy Servicing Company                        McLennan County
Cooperatieve Rabobank U.A., New York            Mercedes-Benz Financial Services USA
 Branch                                           LLC D/B/A Daimler Truck Financial
Cooperative Regions of Organic Producer         Mesa Equipment & Supply Company
 Pools                                          Montgomery County
Country Pure Foods, Inc.                        MPS Enterprises, LLC
CP Tower Owner LLC                              Norse Dairy Systems, LLC
Dairy Farmers of America                        Nueces County
Dallas County                                   Oracle America, Inc.
Delta Fire System, a Division of Western        PACCAR Financial Corp.
 States Fire Protection                         Pacific Rim Capital, Inc.
DeWitt County                                   Palacios ISD
Dimmit County                                   Penske Truck Leasing Co., L.P.
Double H Manufacturing Corporation              Premier Trailer Leasing, Inc.
DuPont de Nemours, Inc.                         Pro Star Logistics, LLC

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Raymondville ISD                                  Texas Taxing Authorities
Realty Income Corporation                         The Bank of New York Mellon Trust
Regions Bank                                       Company, N.A.
Rio Hondo ISD                                     The Kroger Co.
Robertson County                                  The Stop & Shop Supermarket Company
RWDSU Health and Benefit Fund                      LLC
RWDSU Pension Fund                                Thomas Petroleum, LLC
Ryder Truck Rental, Inc.                          TIAA Commercial Finance, Inc. f/k/a
San Marcos CISD                                    EverBank Commercial Finance, Inc.
Santa Fe Independent School District              UMR, Inc.
Signature Financial, LLC                          United States of America
Silgan White Cap LLC                              UnitedHealthcare Insurance Company
Sodexo Operations, LLC                            Uvalde County
Sokol and Company, Inc.                           Victoria County
Sompo Holdings, Inc.                              Visible Supply Chain Management
South Georgia Pecan Company                        Holdings, Inc.
Southern Foods Group, LLC                         Visible Supply Chain Management, LLC
Sugaright                                         Wells Fargo Equipment Finance, Inc.
Sun Trust Equipment Finance & Leasing             Westchester Fire Insurance Company
Sysco Corporation                                 WestRock CP, LLC
Tetra Pak, Inc.                                   Willacy County
Texas Bank and Trust Company                      William J. Begg
Texas Comptroller of Public Accounts              WS Packaging Group, Inc.
Texas Department of Insurance, Division of
 Workers Compensation

Parties Listed on Filed 2019 Statements, as of December 19, 2019

AEP Energy, Inc.                                  Knighthead Capital Management, LLC
American Electric Power                           Massachusetts Electric Company
Ascribe III Investments LLC                       Metropolitan Edison Company
Atlantic City Electric Company                    MILFAM Investments LLC
Boston Gas Company                                Monongahela Power Company
Broadbill Investment Partners, LLC                Niagara Mohawk Power Corporation
Commonwealth Edison Company                       NStar Electric Company, Eastern
Connecticut Light & Power Company                  Massachusetts
Constellation NewEnergy – Gas Division,           NStar Electric Company, Western
 LLC                                               Massachusetts
Constellation NewEnergy, Inc.                     Ohio Edison Company (First Energy Corp.)
Delmarva Power & Light Company                    PECO Energy Company
Ensign Peak Advisors, Inc.                        Pennsylvania Electric Company
Florida Power & Light Company                     Pennsylvania Power Company
Georgia Power Company                             Potomac Edison Company
Jackson Electric Membership Corporation           San Diego Gas and Electric Company
KeySpan Energy Delivery Long Island               Southern California Gas Company
Kingsferry Capital LLC                            Toledo Edison Company

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Virginia Electric and Power Company d/b/a
 Dominion Energy Virginia




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                                          Schedule 2

       Schedule of Searched Parties and/or Certain Related Parties that Akin Gump
            Currently Represents, or Has in the Past Represented, in Matters
                          Unrelated to these Chapter 11 Cases*


The Committee of Unsecured Creditors

Akin Gump has represented in the past and currently represents the following companies and/or
certain related parties of such companies on matters wholly unrelated to the Debtors’ Chapter 11
Cases:

The Bank of New York Mellon Trust Company, N.A.

Akin Gump has represented in the past the following companies and/or certain related parties of
such companies on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

Pension Benefit Guaranty Corporation
Select Milk Producers, Inc.

Professionals of the Committee of Unsecured Creditors

Akin Gump has represented in the past the following companies and/or certain related parties of
such companies on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

Miller Buckfire & Co. LLC

Professionals of the Members of the Committee of Unsecured Creditors

Akin Gump has represented in the past the following companies and/or certain related parties of
such companies on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

Alston & Bird LLP
Jackson Walker LLP

Debtors

Akin Gump has represented in the past the following companies and/or certain related parties of
such companies on matters wholly unrelated to the Debtors’ Chapter 11 Cases:
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Dean Foods Company                                  Friendly’s Ice Cream Holdings Corp.
Dean Foods North Central, LLC                       Friendly’s Manufacturing and Retail, LLC
Dean Foods of Wisconsin, LLC

Debtors’ Affiliates

Akin Gump has represented in the past the following companies and/or certain related parties of
such companies on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

Dairymen’s (HI)                                     Dean Foods of Decatur (in IN)
Dean Foods - LeMars (in IA, NE)                     Dean Foods of Wisconsin, LLC
Dean Foods Central Ice Cream (in IN)                Dean Foods Services, LLC (MN, NE, ND,
Dean Foods Company                                   TX, IL, MI)
Dean Foods Company of Indiana, LLC (in              Friendly’s Ice Cream Holdings Corp.
 IN)                                                Friendly’s Manufacturing and Retail, LLC
Dean Foods Foundation                               Heartland Farms (in CA)
Dean Foods Holding Company (PA, WA)                 Hygeia Dairy (in TX)
Dean Foods Management, LLC (OH)                     Nature’s Best (in RI)
Dean Foods National Warehouse (in CO)               Schepp’s Dairy (Dallas)
Dean Foods North Central, LLC

5% or More Equity Holders

Akin Gump has represented in the past and currently represents the following companies and/or
certain related parties of such companies on matters wholly unrelated to the Debtors’ Chapter 11
Cases:

BlackRock Fund Advisors                             The Vanguard Group, Inc.
Morgan Stanley & Co. LLC

Akin Gump has represented in the past the following companies and/or certain related parties of
such companies on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

Dimensional Fund Advisors L.P.

Bankruptcy Judges

Akin Gump has not represented in the past and currently does not represent these parties.

Bankruptcy Professionals

Akin Gump has represented in the past and currently represents the following companies and/or
certain related parties of such companies on matters wholly unrelated to the Debtors’ Chapter 11
Cases:

Evercore Group L.L.C.

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Akin Gump has represented in the past the following companies and/or certain related parties of
such companies on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

Davis Polk & Wardell LLP
Norton Rose Fulbright US LLP

Banks/Lender/UCC Lien Parties/Administrative Agents

Akin Gump has represented in the past and currently represents the following companies and/or
certain related parties of such companies on matters wholly unrelated to the Debtors’ Chapter 11
Cases:

ACF FinCo I L.P.                                   CIT Northbridge Funding I LLC
BMO Harris Bank N.A.                               PNC Bank, National Association

Akin Gump has represented in the past the following companies and/or certain related parties of
such companies on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

CoBank, ACB                                        ING Capital LLC
Coöperatieve Rabobank U.A.                         Nieuw Amsterdam Receivables
 (Administrative Agent)
Coöperatieve Rabobank U.A., New York
 Branch

Bondholders

Akin Gump has represented in the past and currently represents the following companies and/or
certain related parties of such companies on matters wholly unrelated to the Debtors’ Chapter 11
Cases:

AllianceBernstein, L.P. (U.S.)                     Mellon Investments Corporation
Aurelius                                           Metlife Investment Advisors, LLC
Bank of Nova Scotia Trust Company                  Morgan Stanley Investment Management
BlackRock Advisors, LLC                             Inc.
BMO Asset Management, Inc.                         Paloma Securities LLC
Carlson Capital, L.P.                              Robeco Institutional Asset Management
Farmstead                                           B.V.
Goldman Sachs Asset Management, L.P.               Scotia Capital (USA), Inc.
  (U.S.)                                           SG Americas Securities, LLC
HSBC Private Bank (Suisse) SA                      Stone Harbor Investment Partners, L.P.
J.P. Morgan Investment Management, Inc.            Three Court, L.P.
J.P. Morgan Securities, LLC                        UBS Securities, LLC
Knighthead Capital Management, LLC                 Voya Investment Management, LLC
Logan Circle Partners, L.P.                        Whitebox Advisors, LLC




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Akin Gump has represented in the past the following companies and/or certain related parties of
such companies on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

Advent Capital Management, LLC                      Euroclear Bank - Israel
Clearstream Bank - Austria                          Euroclear Bank - Jersey C.I.
Clearstream Bank - Belgium                          Euroclear Bank - Liechtenstein
Clearstream Bank - Canada                           Euroclear Bank - Luxemburg
Clearstream Bank - France                           Euroclear Bank - Netherlands
Clearstream Bank - Germany                          Euroclear Bank - Other
Clearstream Bank - Italy                            Euroclear Bank - Panama
Clearstream Bank - Luxembourg                       Euroclear Bank - Russia
Clearstream Bank - Monaco                           Euroclear Bank - Sweden
Clearstream Bank - Spain                            Euroclear Bank - Switzerland
Clearstream Bank - Switzerland                      Euroclear Bank - United Kingdom
Clearstream Bank - United Kingdom                   Euroclear Bank - United States
Clearstream Bank - United States                    Invesco Capital Management, LLC
Clearstream Bank - Uruguay                          Manulife Asset Management (U.S.), LLC
Euroclear Bank - Asia (Other)                       Mudrick Capital
Euroclear Bank - Austria                            Nomura Securities International, Inc.
Euroclear Bank - Belgium                            Phoenix Investment Advisors
Euroclear Bank - Canada                             State Street Global Advisors (SSgA)
Euroclear Bank - Cyprus                             Stifel, Nicolaus & Company, Inc.
Euroclear Bank - France                             United Heritage Insurance (Internal Team)
Euroclear Bank - Germany

Customers – Top 50%

Akin Gump has represented in the past and currently represents the following companies and/or
certain related parties of such companies on matters wholly unrelated to the Debtors’ Chapter 11
Cases:

Ahold/Delhaize America Inc.                         Starbucks
CVS/Caremark Corp                                   Wal-Mart Stores/HQ

Akin Gump has represented in the past the following companies and/or certain related parties of
such companies on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

Albertsons LLC/HQ                                   Supervalu Inc./HQ
Aldi Inc./HQ                                        Sysco
Baskin Robbins/Dunkin Donuts                        Target Corp.
Dollar General                                      US Foodservice
Morningstar

Directors

Akin Gump has not represented in the past and currently does not represent these parties.

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Officers

Akin Gump has represented in the past and currently represents the following companies and/or
certain related parties of such companies on matters wholly unrelated to the Debtors’ Chapter 11
Cases:

Delaware Trust Company - (Primary Contact: Alan R. Halpern)

Akin Gump has represented in the past the following companies and/or certain related parties of
such companies on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

CT Corporation - McMahon, Daniel P.

Insurance

Akin Gump has represented in the past and currently represents the following companies and/or
certain related parties of such companies on matters wholly unrelated to the Debtors’ Chapter 11
Cases:

ACE American Insurance Co.                         CNA Insurance
ACE Fire Underwriters                              Federal Insurance Company (“CHUBB”)
AGCS Marine Insurance                              Indemnity Insurance Co of North America
Allianz                                            Interstate Fire & Casualty Co.
Beazley Insurance Company                          Liberty Mutual Insurance Europe SE
Chubb Seguros Mexico, S.A.                         Liberty Specialty Markets Bermuda Limited

Akin Gump has represented in the past the following companies and/or certain related parties of
such companies on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

1274 Antares Lloyd's Syndicate                     Navigators Insurance Company
2623/0623 AFB Lloyds Syndicate – Beazley           Old Republic Insurance Company
Allied World Assurance Company Ltd.                Princeton Excess & Surplus Lines Ins. Co.
Argo Re Ltd.                                       QBE Specialty
Aspen Bermuda Ltd.                                 Sedgwick Claims Management Services
Aspen Specialty Insurance Co.                       Ltd.
AXIS Insurance Company                             Starr Companies
Berkshire Hathaway Specialty Insurance Co.         The North River Insurance Company
Crawford & Company                                 Travelers Insurance Company Ltd.
Everest Indemnity Insurance Company                Travelers Property Casualty Company of
Everest National Insurance Company                  America
Factory Mutual Insurance Company                   XL Catlin Bermuda
Gallagher Bassett Services                         XL Insurance America, Inc.
Great American Insurance Company                   XL Insurance Company SE
Illinois National Insurance Co.                    XL Specialty Insurance Company
Markel Bermuda Ltd.                                Zurich American Insurance Company



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Litigation

Akin Gump has represented in the past the following companies and/or certain related parties of
such companies on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

Friendly’s Manufacturing and Retail, LLC
Williams, David*

Other Significant Creditors

Akin Gump has represented in the past and currently represents the following companies and/or
certain related parties of such companies on matters wholly unrelated to the Debtors’ Chapter 11
Cases:

Banc of America                                    PACCAR Financial Corp
BciCapital (formerly City National Capital         PNC Equipment Leasing, LLC
 Finance Inc.)                                     Ryder Leasing
BMO Harris (formerly GE CF Trust)                  Siemens Financial Services, Inc.
BMO Harris Equipment Finance Company               Sovereign (Santander Bank)
BMO Harris Transportation Finance                  Suntrust Equipment Finance & Leasing
CHUBB (ACE American Insurance                       Corp.
 Company)                                          Wells Fargo (formerly GE CF Trust)
Continental Casualty Company                       Wells Fargo (formerly GE TF Trust)
East West Bank                                     Wells Fargo Equipment Finance, Inc.
Key Equipment Finance                              Westchester Fire Insurance Company
Liberty Mutual Insurance Company

Akin Gump has represented in the past the following companies and/or certain related parties of
such companies on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

American Casualty Company                          Momentive Specialty Chemicals Inc.
Bank of the West                                   Penske
BB&T Equip Finance                                 Signature Financial LLC
Citizens Asset Finance (fka RBS Asset              TIAA Commercial Finance (formerly
 Finance)                                           EverBank Commercial Finance, Inc.)
Daimler Trust                                      Travelers Casualty and Surety Company of
Duke Energy Carolinas, LLC                          America
Duke Energy Florida, LLC                           Travelers Indemnity Co.
Duke Energy Indiana, LLC                           United States Fidelity & Guaranty Company
Duke Energy Progress, LLC                          Zurich American Insurance Company
Fifth Third Equipment Finance




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Top 30 Unsecured Creditors

Akin Gump has represented in the past and currently represents the following companies and/or
certain related parties of such companies on matters wholly unrelated to the Debtors’ Chapter 11
Cases:

ADM Archer Daniels Midland                          The Bank of New York Mellon Trust
Ryder System, Inc.                                   Company, N.A.

Akin Gump has represented in the past the following companies and/or certain related parties of
such companies on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

Nestle USA                                          Silgan Plastic Closure Corporation
Pension Benefit Guaranty Corporation                Southeast Milk, Inc.
 (PBGC)                                             WestRock
Penske Truck Leasing Company LP                     WS Packaging Group, Inc.
Select Milk Producers Inc.

U.S. Trustee Office

Akin Gump has not represented in the past and currently does not represent these parties.

Unions

Akin Gump has represented in the past and currently represents the following companies and/or
certain related parties of such companies on matters wholly unrelated to the Debtors’ Chapter 11
Cases:

Intl Union of Operating Engineers

Akin Gump has represented in the past the following companies and/or certain related parties of
such companies on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

International Brotherhood of Teamsters              Teamsters Benefit Trust
NYS Teamsters Health & Hospital Fund                Teamsters Miscellaneous Security
Teamster Health & Welfare Fund PA                   Teamsters Security Fund

Vendors – Top 89%

Akin Gump has represented in the past and currently represents the following companies and/or
certain related parties of such companies on matters wholly unrelated to the Debtors’ Chapter 11
Cases:

ACE American Insurance Company                      Ares Risk Management
ADM Archer Daniels Midland                          Associated Milk Producers Inc.
Ahold Financial Services LLC                        Banc of America Leasing

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BMO Harris Equipment Finance                       IBM Corp.
Bridgestone Americas Tire                          International Paper
Capital Farm Credit PCA                            Microsoft Corporation
Cargill Corn Milling                               PricewaterhouseCoopers LLP
Cargill Texturizing Sol                            Ryder Integrated Logistics
Chevron Phillips Chemical Co.                      Ryder Truck Rental Inc.
Chobani LLC                                        Safeway Inc.
Cognizant Technology Solutions US                  Santander Bank NA
Deloitte & Touche LLP                              SunTrust Equipment Finance
Deloitte Consulting LLP                            Velocity*
East West Bank                                     Wells Fargo
Ernst & Young LLP                                  Wells Fargo Equipment Finance
Exxonmobil Chemical Co.                            Wells Fargo Pa Receipts

Akin Gump has represented in the past the following companies and/or certain related parties of
such companies on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

ADP LLC                                            Ineos Olefins & Polymers USA
Americold Logistics LLC                            IPC Corp.
Aon Risk Services                                  Kellogg Sales Co.
BB&T Equipment Finance Corp.                       Marsh USA Inc.
BNSF Logistics LLC                                 Mercedes Benz Financial Serv
Caterpillar Financial Servi                        Mercer USA Inc.
Citizens Asset Finance Inc.                        Nalco Company
Citrosuco GmbH                                     Nestle USA Inc.
Computershare Inc.                                 Penske Truck Leasing Co. L.P.
Dean Foods Chemung Harvard IL Ovf                  Pepsico
Dean Foods Gandys Lubbock TX Ovf                   Select Milk Producers
Dean Foods Lol Woodbury MN OVF                     Signature Financial LLC
Dean Foods Model Dairy Reno NV OVF                 Southeast Milk Incorporated
Family Dollar                                      Tate & Lyle Ingredients Americas
Fifth Third Equipment Finance                      Teamsters Benefit Trust
General Mills Finance Inc.                         Teamsters Health & Welfare Fund
Genpact International Inc.                         Tetra Pak Inc.
Georgia Pacific Corrugated                         WageWorks
Giant Eagle Inc.                                   WestRock
Grainger                                           White Eagle Cooperative Association
Grant Thornton                                     WS Packaging Group

Notice of Appearance Parties, as of December 19, 2019

Akin Gump has represented in the past and currently represents the following companies and/or
certain related parties of such companies on matters wholly unrelated to the Debtors’ Chapter 11
Cases:

3M Company                                         Banc of America Leasing & Capital, LLC

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Bank of Montreal                                   Liberty Mutual Insurance Company
BMO Harris Bank N.A.                               PACCAR Financial Corp.
BMO Harris Equipment Finance Co.                   Ryder Truck Rental, Inc.
CenturyLink Communications, LLC                    Sun Trust Equipment Finance & Leasing
Chobani, LLC                                       The Bank of New York Mellon Trust
Chubb Companies                                     Company, N.A.
DuPont de Nemours, Inc.                            UnitedHealthcare Insurance Company
IBM Credit LLC                                     Wells Fargo Equipment Finance, Inc.
Key Equipment Finance, a division of               Westchester Fire Insurance Company
 KeyBank National Association

Akin Gump has represented in the past the following companies and/or certain related parties of
such companies on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

BB&T Equipment Finance Corporation                 Montgomery County
Bexar County                                       Oracle America, Inc.
Cameron County                                     Penske Truck Leasing Co., L.P.
Citizens Asset Finance, Inc.                       Realty Income Corporation
Citizens Bank, N.A.                                Signature Financial, LLC
Conopco, Inc d/b/a Unilever                        Silgan White Cap LLC
Convoy Servicing Company                           Sodexo Operations, LLC
Cooperatieve Rabobank U.A., New York               Sysco Corporation
 Branch                                            Tetra Pak, Inc.
Dallas County                                      Texas Bank and Trust Company
Double H Manufacturing Corporation                 The Kroger Co.
Fifth Third Bank                                   TIAA Commercial Finance, Inc. f/k/a
Harris County                                       EverBank Commercial Finance, Inc.
Mercedes-Benz Financial Services USA               WestRock CP, LLC
 LLC D/B/A Daimler Truck Financial                 WS Packaging Group, Inc.

Parties Listed on Filed 2019 Statements, as of December 19, 2019

Akin Gump has represented in the past and currently represents the following companies and/or
certain related parties of such companies on matters wholly unrelated to the Debtors’ Chapter 11
Cases:

Atlantic City Electric Company                     KeySpan Energy Delivery Long Island
Boston Gas Company                                 Knighthead Capital Management, LLC
Broadbill Investment Partners, LLC                 Massachusetts Electric Company
Commonwealth Edison Company                        MILFAM Investments LLC
Delmarva Power & Light Company                     Niagara Mohawk Power Corporation
Florida Power & Light Company                      PECO Energy Company




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Akin Gump has represented in the past the following companies and/or certain related parties of
such companies on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

AEP Energy, Inc.                                   Ohio Edison Company
American Electric Power                            Pennsylvania Electric Company
Constellation NewEnergy – Gas Division,            Pennsylvania Power Company
 LLC                                               Potomac Edison Company
Constellation NewEnergy, Inc.                      San Diego Gas and Electric Company
Georgia Power Company                              Southern California Gas Company
Metropolitan Edison Company                        Toledo Edison Company
Monongahela Power Company




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                                         Schedule 3

     Schedule of Searched Parties and/or Certain Related Parties that are Currently,
              or Have in the Past Been, Adverse to Clients of Akin Gump*


3M Company                                       Barry Callebaut USA LLC
ACE American Insurance Co.                       BB&T Equipment Finance Corporation
ACE Fire Underwriters                            BciCapital (formerly City National Capital
ACF FinCo I L.P.                                  Finance Inc.)
Acosta, Inc.                                     Berkshire Hathaway Specialty Insurance Co.
ADM Archer Daniels Midland                       Bexar County
ADP LLC                                          Blackhawk Molding Co.
AEP Energy, Inc.                                 BlackRock Advisors, LLC
AGCS Marine Insurance                            BlackRock Fund Advisors
Ahold Financial Services LLC                     BMO Asset Management, Inc.
Ahold/Delhaize America Inc.                      BMO Harris (formerly GE CF Trust)
Alco of Wisconsin Incorporated                   BMO Harris Bank N.A.
AllianceBernstein, L.P. (U.S.)                   BMO Harris Equipment Finance Company
Allianz                                          BMO Harris Transportation Finance
Allied World Assurance Company Ltd.              BNSF Logistics LLC
Alston & Bird LLP                                Boller Construction Company Inc.
Alvarez & Marsal                                 Boston Gas Company
Alvarez & Marsal Holdings LLC                    Capco Energy Solutions LLC
American Casualty Company                        Capital Farm Credit PCA
American Electric Power                          Cargill Corn Milling
Aon Risk Services                                Cargill Texturizing Sol
Ares Risk Management                             Caterpillar Financial Servi
Argo Re Ltd.                                     Central Pa Teamsters Health & Welfare
Ascentium Capital LLC                            Central Pa Teamsters Pension Fund
Aspen Bermuda Ltd.                               Central Pension Fund
Aspen Specialty Insurance Co.                    Central States Pension Fund
Atlantic City Electric Company                   Central States, Southeast and Southwest
Automotive Industries                             Areas Pension Funds
AXIS Insurance Company                           CenturyLink Communications, LLC
Banc of America                                  Chevron Phillips Chemical Co.
Banc of America Leasing                          Chobani LLC
Banc of America Leasing & Capital, LLC           CHUBB (ACE American Insurance
Bank of Montreal                                  Company)
Bank of Nova Scotia Trust Company                Chubb Companies
Bank of the West
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Chubb Seguros Mexico, S.A.                    Delmarva Power & Light Company
CIT Northbridge Funding I LLC                 Deloitte & Touche LLP
Citizens Asset Finance (fka RBS Asset         Deloitte Consulting LLP
 Finance)                                     Deseret Trust Company
Citizens Asset Finance Inc.                   Dimensional Fund Advisors L.P.
Citizens Bank, N.A.                           Dollar General
CNA Insurance                                 Duke Energy Carolinas, LLC
CoBank, ACB                                   Duke Energy Florida, LLC
Cognizant Technology Solutions US             Duke Energy Indiana, LLC
Commonwealth Edison Company                   Duke Energy Progress, LLC
Computershare Inc.                            DuPont de Nemours, Inc.
Connecticut Light & Power Company             Eagle Bank and Trust
Conopco, Inc d/b/a Unilever                   East West Bank
Continental Casualty Company                  Ecolab Inc.
Constellation NewEnergy – Gas Division,       Endurance American Insurance Company
 LLC                                          Ensign Peak Advisors, Inc.
Constellation NewEnergy, Inc.                 Epiq Corporate Restructuring, LLC
Coöperatieve Rabobank U.A.                    Ernst & Young LLP
 (Administrative Agent)                       Euroclear Bank - Asia (Other)
Cooperatieve Rabobank U.A., New York          Euroclear Bank - Austria
 Branch                                       Euroclear Bank - Belgium
CT Corporation - McMahon, Daniel P.           Euroclear Bank - Canada
Cumberland Farms                              Euroclear Bank - Cyprus
CVS/Caremark Corp                             Euroclear Bank - France
Dairy Marketing Services LLC                  Euroclear Bank - Germany
Davis Polk & Wardell LLP                      Euroclear Bank - Israel
Dean Foods - LeMars (in IA, NE)               Euroclear Bank - Jersey C.I.
Dean Foods Central Ice Cream (in IN)          Euroclear Bank - Liechtenstein
Dean Foods Chemung Harvard IL Ovf             Euroclear Bank - Luxemburg
Dean Foods Company                            Euroclear Bank - Netherlands
Dean Foods Company of Indiana, LLC (in        Euroclear Bank - Other
 IN)                                          Euroclear Bank - Panama
Dean Foods Foundation                         Euroclear Bank - Russia
Dean Foods Gandys Lubbock TX Ovf              Euroclear Bank - Sweden
Dean Foods Holding Company (PA, WA)           Euroclear Bank - Switzerland
Dean Foods Lol Woodbury MN OVF                Euroclear Bank - United Kingdom
Dean Foods Management, LLC (OH)               Euroclear Bank - United States
Dean Foods Model Dairy Reno NV OVF            Everest Indemnity Insurance Company
Dean Foods National Warehouse (in CO)         Everest National Insurance Company
Dean Foods North Central, LLC                 Exxonmobil Chemical Co.
Dean Foods of Decatur (in IN)                 Factory Mutual Insurance Company
Dean Foods of Wisconsin, LLC                  Family Dollar
Dean Foods Services, LLC (MN, NE, ND,         Federal Insurance Company (“CHUBB”)
 TX, IL, MI)                                  Fifth Third Bank
Delaware Trust Company - (Primary             Fifth Third Equipment Finance
 Contact: Alan R. Halpern)                    Florida Power & Light Company

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Friendly’s Ice Cream Holdings Corp.             Mellon Investments Corporation
Friendly’s Manufacturing and Retail, LLC        Mercedes Benz Financial Serv
Gallagher Bassett Services                      Mercedes-Benz Financial Services USA
General Mills Finance Inc.                       LLC d/b/a Daimler Truck Financial
General Security Indemnity Co. of Arizona       Mercer USA Inc.
Georgia Pacific Corrugated                      Metlife Investment Advisors, LLC
Georgia Power Company                           Microsoft Corporation
Giant Eagle Inc.                                Miller Buckfire & Co. LLC
Goldman Sachs Asset Management, L.P.            Momentive Specialty Chemicals Inc.
  (U.S.)                                        Monongahela Power Company
Grant Thornton                                  Montgomery County
Great American Insurance Company                Morgan Stanley & Co. LLC
Hamilton CAD                                    Morgan Stanley Investment Management
Harris County                                    Inc.
HCL America Inc.                                Mudrick Capital
HCL Technologies Ltd                            Navigators Insurance Company
HSBC Private Bank (Suisse) SA                   Nestle USA Inc.
IAM National Pension Fund                       New England Teamsters & Trucking
IBM Corp.                                       New Jersey Department of Environmental
IBM Credit LLC                                   Protection
Illinois National Insurance Co.                 NFIP
Illinois Union Insurance Company                Niagara Mohawk Power Corporation
Indemnity Insurance Co of North America         Nieuw Amsterdam Receivables
Ineos Olefins & Polymers USA                    Nomura Securities International, Inc.
ING Capital LLC                                 Norton Rose Fulbright US LLP
Ingredion Inc.                                  NStar Electric Company, Eastern
International Brotherhood of Teamsters           Massachusetts
International Paper                             NStar Electric Company, Western
Interstate Fire & Casualty Co.                   Massachusetts
Intl Union of Operating Engineers               NYS Teamsters Pension & Retirement Fund
Invesco Capital Management, LLC                 Ohio Bureau of Workers’ Compensation
J.P. Morgan Investment Management, Inc.         Ohio Edison Company
J.P. Morgan Securities, LLC                     Old Republic Insurance Company
Jefferson County                                OPEIU
Joint Council of Teamsters 3                    Oracle America, Inc.
Key Equipment Finance                           Paloma Securities LLC
KeySpan Energy Delivery Long Island             PECO Energy Company
Knighthead Capital Management, LLC              Pennsylvania Electric Company
Liberty Mutual Insurance Company                Pension Benefit Guaranty Corporation
Liberty Mutual Insurance Europe SE              Pepsico
Liberty Specialty Markets Bermuda Limited       PNC Bank, National Association
Logan Circle Partners, L.P.                     PNC Equipment Leasing, LLC
Manulife Asset Management (U.S.), LLC           PricewaterhouseCoopers LLP
Marsh USA Inc.                                  Princeton Excess & Surplus Lines Ins. Co.
Massachusetts Electric Company                  QBE Specialty
MB Equipment Finance, LLC                       Realty Income Corporation

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Regions Bank                                   The Vanguard Group, Inc.
Regions Equipment Finance Corporation          TIAA Commercial Finance (formerly
Safeway Inc.                                    EverBank Commercial Finance, Inc.)
Safra Securities, LLC                          Travelers Casualty and Surety Company of
San Diego Gas and Electric Company              America
Santander Bank NA                              Travelers Indemnity Co.
Scotia Capital (USA), Inc.                     Travelers Insurance Company Ltd.
SG Americas Securities, LLC                    Travelers Property Casualty Company of
Siemens Financial Services, Inc.                America
Sodexo Operations, LLC                         Travelers Casualty and Surety Company of
Sovereign (Santander Bank)                      America
Starbucks                                      Tropicana Chilled DSD
Starr Companies                                UBS Securities, LLC
State Street Global Advisors (SSgA)            UFCW Industry Pension Fund
Stifel, Nicolaus & Company, Inc.               United States Department of Agriculture
SunTrust Equipment Finance                     United States of America
Suntrust Equipment Finance & Leasing           UnitedHealthcare Insurance Company
 Corp.                                         Uptown Cityplace LLC
Supervalu Inc./HQ                              US Foodservice
Sysco                                          Velocity*
Target Corp.                                   Virginia Electric and Power Company d/b/a
Teamster Health & Welfare Fund PA               Dominion Energy Virginia
Teamsters Benefit Trust                        Voya Investment Management, LLC
Teamsters Chauffeurs Warehousemen              Wal-Mart Stores/HQ
Teamsters Health & Welfare Fund                Wells Fargo
Teamsters Joint Council #83 of VA              Wells Fargo Equipment Finance, Inc.
Teamsters Local Union 331                      Wells Fargo Pa Receipts
Teamsters Local Union 639                      Wells Fargo (formerly GE CF Trust)
Teamsters Local Union 886                      Wells Fargo (formerly GE TF Trust)
Teamsters Local Union 639 Employers Hlth       Westchester Fire Insurance Company
Teamsters Miscellaneous Security               Whitebox Advisors, LLC
Teamsters Security Fund                        Williams, David*
Tennessee Valley Authority                     XL Catlin Bermuda
Texas Bank and Trust Company                   XL Insurance America, Inc.
Texas Comptroller of Public Accounts           XL Insurance Company SE
The Bank of New York Mellon Trust              XL Specialty Insurance Company
 Company, N.A.                                 Zurich American Insurance Company
The Kroger Co.




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                                          Schedule 4

 Schedule of Searched Parties that are Currently Serving, or Have in the Past Served, on
   Other Informal and/or Official Creditors’ Committees Represented by Akin Gump


ACF FinCo I L.P.                                  Liberty Mutual Insurance Company
Advent Capital Management, LLC                    Liberty Mutual Insurance Europe SE
AllianceBernstein, L.P. (U.S.)                    Liberty Specialty Markets Bermuda Limited
Ares Risk Management                              Manulife Asset Management (U.S.), LLC
Ascribe Capital, LLC                              Mellon Investments Corporation
Aurelius                                          Metlife Investment Advisors, LLC
Banc of America                                   Morgan Stanley & Co. LLC
Banc of America Leasing                           Morgan Stanley Investment Management
Banc of America Leasing & Capital, LLC             Inc.
BlackRock Advisors, LLC                           Mudrick Capital
BlackRock Fund Advisors                           Nomura Securities International, Inc.
Carlson Capital, L.P.                             Pension Benefit Guaranty Corporation
CIT Northbridge Funding I LLC                     Phoenix Investment Advisors
Citizens Asset Finance Inc.                       Siemens Financial Services, Inc.
Citizens Bank, N.A.                               State Street Global Advisors (SSgA)
CNA Insurance                                     Stone Harbor Investment Partners, L.P.
Commonwealth Edison Company                       SunTrust Equipment Finance
Computershare Inc.                                Suntrust Equipment Finance & Leasing
Continental Casualty Company                       Corp.
CVS/Caremark Corp                                 The Bank of New York Mellon Trust
Delaware Trust Company - (Primary                  Company, N.A.
  Contact: Alan R. Halpern)                       TIAA Commercial Finance (formerly
DuPont de Nemours, Inc.                            EverBank Commercial Finance, Inc.)
Ernst & Young LLP                                 UBS Securities, LLC
Farmstead                                         US Foodservice
Goldman Sachs Asset Management, L.P.              Voya Investment Management, LLC
  (U.S.)                                          Wells Fargo
HSBC Private Bank (Suisse) SA                     Wells Fargo (formerly GE CF Trust)
Illinois National Insurance Co.                   Wells Fargo (formerly GE TF Trust)
International Brotherhood of Teamsters            Wells Fargo Equipment Finance, Inc.
Invesco Capital Management, LLC                   Wells Fargo Pa Receipts
J.P. Morgan Investment Management, Inc.           Whitebox Advisors, LLC
J.P. Morgan Securities, LLC                       WS Packaging Group
Knighthead Capital Management, LLC
